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                                                                   UNITED STATES DISTRICT COURT
                                          17                      CENTRAL DISTRICT OF CALIFORNIA
                                          18
                                               Blue Cross of California d/b/a Anthem      Case No. 2:18-cv-04912
                                          19   Blue Cross; Anthem Blue Cross Life
                                          20   and Health Insurance Company;              COMPLAINT
                                               Anthem Health Plans, Inc. d/b/a
                                          21   Anthem Blue Cross and Blue Shield;         JURY TRIAL DEMANDED
                                          22   Anthem Health Plans of Maine, Inc.
                                               d/b/a Anthem Blue Cross and Blue
                                          23   Shield; Anthem Health Plans of New
                                          24   Hampshire, Inc. d/b/a Anthem Blue
                                               Cross and Blue Shield; Anthem Health
                                          25   Plans of Virginia, Inc. d/b/a Anthem
                                          26   Blue Cross and Blue Shield; BCBSM,
                                               Inc. d/b/a Blue Cross and Blue Shield
                                          27   of Minnesota; Blue Cross and Blue
                                          28   Shield of Georgia, Inc.; Blue Cross

                                                                                                                   COMPLAINT
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                                           1   Blue Shield Healthcare Plan of
                                           2   Georgia, Inc.; Blue Cross Blue Shield
                                               of Wisconsin d/b/a Anthem Blue Cross
                                           3   and Blue Shield; Community Insurance
                                           4   Company d/b/a Anthem Blue Cross and
                                               Blue Shield; Compcare Health Services
                                           5   Insurance Corporation d/b/a Anthem
                                           6   Blue Cross and Blue Shield; Empire
                                               HealthChoice Assurance, Inc. d/b/a
                                           7   Empire Blue Cross and Blue Shield;
                                           8   Healthy Alliance Life Insurance
                                               Company; HMO HealthKeepers, Inc.
                                           9   d/b/a Anthem Blue Cross and Blue
                                          10   Shield; HMO Missouri, Inc.;
                                               RightCHOICE Managed Care, Inc.;
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                                          11   and Rocky Mountain Hospital and
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                                          12   Medical Service, Inc. d/b/a Anthem
                                               Blue Cross and Blue Shield of
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                                          13   Colorado,
                                          14
                                                               Plaintiffs,
                                          15
                                               v.
                                          16
                                          17   Sonoma West Medical Center, Inc.; DL
                                               Investment Holdings LLC f/k/a Durall
                                          18   Capital Holdings, LLC; Reliance
                                          19   Laboratory Testing, Inc.; Medivance
                                               Billing Service, Inc.; Aaron Durall; and
                                          20   Neisha Carter Zaffuto,
                                          21                   Defendants.
                                          22
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                                                                                                                 COMPLAINT
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                                           1         Plaintiffs Blue Cross of California, Inc. d/b/a Anthem Blue Cross of
                                           2   California; Anthem Blue Cross Life and Health Insurance Company; Anthem
                                           3   Health Plans, Inc. d/b/a Anthem Blue Cross and Blue Shield; Anthem Health Plans
                                           4   of Maine, Inc. d/b/a Anthem Blue Cross and Blue Shield; Anthem Health Plans of
                                           5   New Hampshire, Inc. d/b/a Anthem Blue Cross and Blue Shield; Anthem Health
                                           6   Plans of Virginia, Inc. d/b/a Anthem Blue Cross and Blue Shield; Blue Cross and
                                           7   Blue Shield of Georgia, Inc.; Blue Cross Blue Shield Healthcare Plan of Georgia,
                                           8   Inc.; BCBSM, Inc. d/b/a Blue Cross and Blue Shield of Minnesota; Blue Cross
                                           9   Blue Shield of Wisconsin d/b/a Anthem Blue Cross and Blue Shield; Community
                                          10   Insurance Company d/b/a Anthem Blue Cross and Blue Shield; Compcare Health
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                                          11   Services Insurance Corporation d/b/a Anthem Blue Cross and Blue Shield; Empire
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                                          12   HealthChoice Assurance, Inc. d/b/a Empire Blue Cross and Blue Shield; Healthy
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                                          13   Alliance Life Insurance Company; HMO HealthKeepers, Inc. d/b/a Anthem Blue
                                          14   Cross and Blue Shield; HMO Missouri, Inc.; RightCHOICE Managed Care, Inc.;
                                          15   and Rocky Mountain Hospital and Medical Service, Inc. d/b/a Anthem Blue Cross
                                          16   and Blue Shield of Colorado; (collectively, “Plaintiffs” or “Anthem”), in their
                                          17   Complaint against Defendants Sonoma West Medical Center, Inc.; DL Investment
                                          18   Holdings LLC f/k/a Durall Capital Holdings, LLC; Reliance Laboratory Testing,
                                          19   Inc.; Medivance Billing Service, Inc.; and individuals Aaron Durall and Neisha
                                          20   Carter Zaffuto, (collectively, “Defendants”) now bring this action to recover the
                                          21   millions of dollars Defendants stole through their fraudulent, deceptive,
                                          22   conspiratorial efforts and to have that conduct enjoined. Plaintiffs state and allege
                                          23   the following:
                                          24                            JURISDICTION AND VENUE:
                                          25         1.     This Court has subject-matter jurisdiction under 28 U.S.C. § 1331
                                          26   because this action presents a federal question. Specifically, Plaintiffs have raised
                                          27   claims under the Employee Retirement Income Security Act of 1974 (“ERISA”), 29
                                          28   U.S.C. § 1001, et seq.

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                                           1          2.     This Court has supplemental jurisdiction over the remaining state law
                                           2   claims under 28 U.S.C. § 1367 because those claims form part of the same case or
                                           3   controversy as the federal claims.
                                           4          3.     Venue is proper in this Court under 28 U.S.C. § 1391(b)(2) because a
                                           5   substantial part of the events or omissions giving rise to this action occurred in this
                                           6   judicial district.
                                           7          4.     Alternatively, venue is proper in this District pursuant to 28 U.S.C. §
                                           8   1391(b)(3) because Defendants are subject to this Court’s personal jurisdiction with
                                           9   respect to this action.
                                          10          5.     Defendants have submitted to personal jurisdiction of this Court
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                                          11   because they have purposefully directed their fraudulent scheme and other activities
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                                          12   at Anthem, Anthem members, and employees whose health plans Anthem
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                                          13   administers who reside and are domiciled in this forum and because Anthem’s
                                          14   claims arise out of Defendants’ fraudulent schemes and other activities in this
                                          15   forum. By doing business in this forum and by knowingly directing their fraudulent
                                          16   scheme and conducting other activities towards Anthem and the BCBS Plans,
                                          17   Anthem and the BCBS Plans’ members, and employers and employees whose
                                          18   health plans Anthem and the BCBS Plans administer who reside and are domiciled
                                          19   in this forum, Defendants have purposefully availed themselves of the privilege and
                                          20   opportunity of conducting business in California.
                                          21                             NATURE OF THE ACTION
                                          22          6.     In 2017, a personal injury lawyer from Florida approached a failing,
                                          23   37-bed hospital in northern California with an idea he claimed could enrich them
                                          24   both virtually overnight. The lawyer, Aaron Durall, under the guise of a corporate
                                          25   shell, would acquire urine through a network of marketers and physicians from
                                          26   around the country; he would consolidate that urine through a toxicology lab in
                                          27   Florida that he owned; and the hospital would bill insurers for the testing even
                                          28   though other labs had been ordered to perform it. With that simple but deceptive

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                                           1   scheme, the hospital could increase the insurance payments for those services up to
                                           2   100 fold.
                                           3          7.     In the spring of 2017, the hospital – Sonoma West Medical Center,
                                           4   Inc. (“Sonoma West”) – was failing. It was failing financially (having recently
                                           5   emerged from bankruptcy protection) and it was failing its patients (as the Centers
                                           6   for Medicare and Medicaid Services (“CMS”) found in a report published just
                                           7   months later, Sonoma West was being grossly mismanaged and was unable to
                                           8   deliver reliable, quality care to its patients).
                                           9          8.     Where the regulator saw a caregiver that could not give adequate care,
                                          10   Durall Capital Holdings, LLC (“Durall Capital”) saw a potential gold mine.
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                                          11   Sonoma West had something far more valuable to Durall Capital than patient
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                                          12   care—status as a hospital that could generate reimbursement from insurers that
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                                          13   would be orders of magnitude greater than Aaron Durall’s laboratory, Reliance
                                          14   Laboratory Testing, Inc. (“Reliance Labs”), could.
                                          15          9.     As Reliance Labs was aware from previous billing to Anthem, claims
                                          16   for urine toxicology tests submitted by an out-of-network lab were generally paid at
                                          17   around $32 for each test—the amount set forth in Anthem’s professional fee
                                          18   schedule.
                                          19          10.    But, if the co-conspirators could make it appear to Anthem that an out-
                                          20   of-network hospital was providing the services, for the hospital’s patients, they
                                          21   could bypass the $32-reimbursement cap. With that simple deception, they could
                                          22   transform a $32 claim into a $3,500 claim, because hospitals were paid as a
                                          23   function of their billed charges.
                                          24          11.    For this billing alchemy to work, Durall Capital needed to convince
                                          25   Sonoma West to mislead payors in several material ways: (1) by pretending that the
                                          26   thousands of laboratory services it would soon be billing were for the hospital’s
                                          27   patients; (2) by representing that the hospital had been ordered to perform the
                                          28   testing; (3) by claiming billed charges in amounts that would be significantly

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                                           1   greater than the actual figures; (4) by concealing, in many instances, that another
                                           2   laboratory had actually performed the testing at issue; and (5) by concealing the fact
                                           3   that no effort would be made to hold patients accountable for their cost-sharing
                                           4   obligations.
                                           5         12.      Sonoma West agreed to Durall Capital’s proposed conspiracy in April
                                           6   2017. According to the agreement, Sonoma West would allow Reliance Labs,
                                           7   Durall Capital, and Medivance to bill for testing of specimens intended for Reliance
                                           8   Labs using Sonoma West’s provider credentials. For its part, Durall Capital
                                           9   committed to bolster the supply chain—soliciting urine from physicians who had
                                          10   never heard of Sonoma West and were oblivious to Durall Capital’s intent to
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                                          11   fraudulently increase the price of the services they ordered. And Medivance agreed
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                                          12   to handle the billing to insurers—including Anthem and the BCBS Plans—to
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                                          13   ensure the scheme would go undetected and that the co-conspirators could
                                          14   maximize their reimbursements.
                                          15         13.      In the short time in which Defendants operated, their conspiracy netted
                                          16   them more than $16 million in payments from Anthem that they each knew they
                                          17   were not entitled to. These claims were for specimens obtained from patients who
                                          18   were not under the care of Sonoma West, and their physicians did not request that
                                          19   Sonoma West be involved in their care.
                                          20         14.      The distance this urine had to travel as part of this scheme was
                                          21   remarkable. Approximately 90% of specimens originated in Orange County,
                                          22   California – nearly 500 miles from Sonoma West. The remaining 10% originated in
                                          23   states other than California.
                                          24         15.      But that was just the beginning of their journey. After they were
                                          25   collected from patients, the urine samples did not go directly to Sonoma West, but
                                          26   instead travelled 2,300 miles east to Reliance Labs, in Sunrise, Florida. There the
                                          27   specimens were divided into two portions, with one remaining at Reliance Labs and
                                          28   the other boarding a plane to fly 2,600 miles back to Sebastopol where, purportedly,

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                                           1   a basic screening test would be performed—one that Reliance Labs was more than
                                           2   capable of conducting and, indeed, Reliance Labs was the entity who most
                                           3   physicians had ordered to perform the testing.
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                                          14         16. These nearly 5,000 miles were a trip not just around the country, but
                                          15   the end-run on Anthem’s professional fee schedule.

                                          16         17.    But that is not where the fraudulent journey would end—because

                                          17   Sonoma West’s reimbursement was still capped by its billed charges. In the 18

                                          18   months prior to the conspiracy, Sonoma West had billed such claims at an average

                                          19   of $118 per test. After Defendants implemented the scheme, the charges for the

                                          20   same service were reported as $3,500.

                                          21         18.    The conspiracy was remarkably successful—delivering on Durall

                                          22   Capital’s promise of swift wealth. In the 18 months prior to the conspiracy, Sonoma

                                          23   West submitted just 50 claims for urine toxicology testing to Anthem in total. In the

                                          24   first nine months of the scheme, that number ballooned to more than 15,000 claims

                                          25   – more than 50 claims per day.

                                          26         19.    As the conspirators knew when they first implemented this scheme,

                                          27   deception of insurers, including Anthem, was central to its success. Indeed, in

                                          28   deciding whether to utilize Sonoma West for the scheme, Durall Capital closely

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                                           1   examined Sonoma West’s relationships with insurers, including the anticipated
                                           2   reimbursement rates that Sonoma West would receive, to ensure that Durall Capital
                                           3   was partnering with a hospital that could extract substantial reimbursements from
                                           4   insurers.
                                           5         20.    If Anthem had discovered that the tests were being performed by
                                           6   Reliance Labs, were being performed for members who were not Sonoma West
                                           7   patients, or were ordered by physicians with no affiliation with Sonoma West (and
                                           8   who had not ordered the tests from Sonoma West), they would not have been paid
                                           9   at the rates Anthem paid them. And if the co-conspirators had revealed that they did
                                          10   not collect patient-cost-sharing responsibilities from Anthem’s members, Anthem
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                                          11   would not have paid anything for the claims.
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                                          12         21.    Through this civil action, Anthem seeks compensation for the injuries
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                                          13   that it has incurred because of Defendants’ conduct, injunctive relief prohibiting
                                          14   Defendants from continuing to conduct this pass-through scheme, and other relief
                                          15   as set forth herein.
                                          16                                        PARTIES
                                          17         22.    Plaintiff Blue Cross of California d/b/a Anthem Blue Cross of
                                          18   California is incorporated and headquartered in California.
                                          19         23.    Plaintiff Anthem Blue Cross Life and Health Insurance Company is
                                          20   incorporated and headquartered in California.
                                          21         24.    Plaintiff Anthem Health Plans, Inc. d/b/a Anthem Blue Cross and Blue
                                          22   Shield is incorporated and headquartered in Connecticut.
                                          23         25.    Plaintiff Anthem Health Plans of Maine, Inc. d/b/a Anthem Blue Cross
                                          24   and Blue Shield is incorporated and headquartered in Maine.
                                          25         26.    Plaintiff Anthem Health Plans of New Hampshire, Inc. d/b/a Anthem
                                          26   Blue Cross and Blue Shield is incorporated and headquartered in New Hampshire.
                                          27         27.    Plaintiff Anthem Health Plans of Virginia, Inc. d/b/a Anthem Blue
                                          28   Cross and Blue Shield is incorporated and headquartered in Virginia.

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                                           1         28.    Plaintiff Blue Cross and Blue Shield of Georgia, Inc. is incorporated
                                           2   and headquartered in Georgia.
                                           3         29.    Plaintiff Blue Cross Blue Shield Healthcare Plan of Georgia, Inc. is
                                           4   incorporated and headquartered in Georgia.
                                           5         30.    Plaintiff BCBSM, Inc. d/b/a Blue Cross and Blue Shield of Minnesota
                                           6   is incorporated and headquartered in Minnesota.
                                           7         31.    Plaintiff Blue Cross Blue Shield of Wisconsin d/b/a Anthem Blue
                                           8   Cross and Blue Shield is incorporated and headquartered in Wisconsin.
                                           9         32.    Plaintiff Community Insurance Company d/b/a Anthem Blue Cross
                                          10   and Blue Shield is incorporated and headquartered in Ohio.
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                                          11         33.    Plaintiff Compcare Health Services Insurance Corporation d/b/a
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                                          12   Anthem Blue Cross and Blue Shield is incorporated and headquartered in
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                                          13   Wisconsin.
                                          14         34.    Plaintiff Empire HealthChoice Assurance, Inc. d/b/a Empire Blue
                                          15   Cross and Blue Shield is incorporated and headquartered in New York.
                                          16         35.    Plaintiff Healthy Alliance Life Insurance Company is incorporated and
                                          17   headquartered in Missouri.
                                          18         36.    Plaintiff HMO HealthKeepers, Inc. d/b/a Anthem Blue Cross and Blue
                                          19   Shield is incorporated and headquartered in Virginia.
                                          20         37.    Plaintiff HMO Missouri, Inc. is incorporated and headquartered in
                                          21   Missouri.
                                          22         38.    Plaintiff RightCHOICE Managed Care, Inc. is incorporated in
                                          23   Delaware and headquartered in Missouri.
                                          24         39.    Plaintiff Rocky Mountain Hospital and Medical Service, Inc. d/b/a
                                          25   Anthem Blue Cross and Blue Shield, is incorporated and headquartered in
                                          26   Colorado.
                                          27         40.    Defendant Sonoma West is a California non-profit public benefit
                                          28   corporation with its principal place of business in Sebastopol, California.

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                                            1         41.    Defendant DL Investment Holdings LLC f/k/a Durall Capital
                                            2   Holdings, LLC (“Durall Capital”) is a Florida limited liability company with its
                                            3   principal place of business in Sunrise, Florida. According to filings with the Florida
                                            4   Secretary of State, Durall Capital’s chief officer and manager is Aaron Durall.
                                            5         42.    Defendant Reliance Labs is a Florida corporation with its principal
                                            6   place of business in Sunrise, Florida. According to filings with the Florida
                                            7   Secretary of State, Reliance Labs’ chief officer and manager is again Aaron Durall.
                                            8         43.    Defendant Medivance is a Florida corporation, created in June 2007.
                                            9   The company purports to be “a national leader in revenue cycle management and
                                           10   provider of healthcare business solutions” that caters to healthcare providers in the
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                                           11   behavioral health, hospital, and toxicology businesses.
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                                           12         44.    Defendant Aaron Durall is a Florida resident and an officer and
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                                           13   manager of Durall Capital and Reliance Labs.
                                           14         45.    Defendant Neisha Carter Zaffuto is a Florida resident and president of
                                           15   Medivance.
                                           16                                  THE BCBS PLANS
                                           17                                 The BlueCard Program
                                           18         46.    Plaintiffs are independent licensees (or subsidiaries of independent
                                           19   licensees) of the Blue Cross and Blue Shield Association (“BCBS Association”).
                                           20         47.    Each of the Plaintiffs is a participant in the BCBS Association’s
                                           21   BlueCard program, which allows members of one licensee’s health plans to obtain
                                           22   healthcare in another licensee’s service area (e.g., where a member is traveling or
                                           23   living outside of their home plan’s service area).
                                           24         48.    Because Sonoma West is located in Anthem’s service area, services
                                           25   billed by Sonoma West for any BCBS Association licensee’s members were billed
                                           26   to Anthem.
                                           27         49.    Anthem then reconciled the cost of the services billed by Sonoma
                                           28   West with the BCBS Association licensee responsible for each member.

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                                            1         50.     As a result, each of the Plaintiffs was harmed by the fraudulent scheme
                                            2   alleged herein.
                                            3                          Assignment of Legal Claims for Money
                                            4                     Owed by Other Licensees of the BCBS Association
                                            5         51.     Other independent licensees of the BCBS Association (who similarly
                                            6   participate in the BlueCard program) have been injured by this pass-through
                                            7   scheme in the same way as Plaintiffs.
                                            8         52.     Many of those licensees of the BCBS Association have assigned to
                                            9   Anthem their legal claims for money owed as a result of Defendants’ pass-through
                                           10   scheme alleged herein.
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                                           11         53.     The assignments completed by these plans state, in pertinent part, that
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                                           12   each plans “assigns and transfers to Anthem the rights, title and interest to legal
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                                           13   claims for money owed, to the extent permitted by applicable law, that [the Plan]
                                           14   may assert against any individual or entity, known or unknown, because of their
                                           15   participation in the Sonoma West Pass-Through Scheme.”
                                           16         54.     Collectively, Plaintiffs and the assigning plans are referred to herein as
                                           17   the “BCBS Plans.”
                                           18                 The BCBS Plans’ Fully Insured and Self-Funded Plans
                                           19         55.     The BCBS Plans are insurers and third-party claims administrators for
                                           20   employer group health plans that provide benefits to their covered employees and
                                           21   dependents.
                                           22         56.     The BCBS Plans insure plans directly (the “Fully-Insured Plans”). For
                                           23   these plans, the BCBS Plans resolve claims and makes benefit payments from their
                                           24   own assets.
                                           25         57.     The BCBS Plans also provide administrative services to self-funded
                                           26   group health plans (the “Self-Funded Plans”). The BCBS Plans deliver these
                                           27   services pursuant to Administrative Services Agreements between The BCBS Plans
                                           28   and the health plan’s sponsor (usually an employer), which identify the rights and

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                                            1   obligations of each party. Many of the health plans sponsored by private employers
                                            2   are governed by ERISA, 29 U.S.C. § 100, et seq.
                                            3         58.    The BCBS Plans provide insurance and/or administrative services to
                                            4   these employer-sponsored health plans, including the processing of claims for
                                            5   reimbursement of medical services provided to the individuals covered by these
                                            6   benefit plans.
                                            7         59.    The BCBS Plans paid claims to Sonoma West on behalf of a number
                                            8   of Self-Funded Plans, and seeks redress in this lawsuit for those Self-Funded Plans.
                                            9         60.    Anthem has prepared an exhibit listing the impacted Self-Funded Plans
                                           10   and will seek the Court’s leave to file the document once a protective order is in
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                                           11   effect, given the confidential and sensitive nature of such a document listing many
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                                           12   of BCBS Plans’ customers.
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                                           13         61.    Anthem and the BCBS Plans’ agreements with their customers
                                           14   expressly give Anthem and the BCBS Plans authority and discretion to recover
                                           15   overpayments on behalf of their customers.
                                           16         62.    Accordingly, Anthem has authority to seek recovery on behalf of the
                                           17   impacted Self-Funded Plans and for payments made by the Fully Insured Plans.
                                           18                             FACTUAL BACKGROUND
                                           19                                   Urine Drug Testing
                                           20         63.    Drug tests are laboratory analyses used to aid in the detection of
                                           21   prescription, recreational, or illicit substances in human specimens. Drug testing
                                           22   may be used to meet state requirements, evaluate therapeutic compliance and drug
                                           23   aberrant behavior (e.g., abuse or diversion), or to evaluate for child and elder abuse.
                                           24   It can include analysis for most drugs, chemicals, and/or plant products that are
                                           25   known to be misused, including for recreational use.
                                           26         64.    Although drug tests may be performed on a variety of specimen types,
                                           27   urine drug testing is used most commonly because it is widely available, minimally
                                           28   invasive, and generally the least expensive for drug detection and monitoring.

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                                            1         65.    Urine drug testing typically falls into two categories of testing:
                                            2   screening and confirmation.
                                            3         66.    Screening testing is used to determine the presence or absence of one
                                            4   or more drugs or drug classes. It is typically performed via immunoassay (i.e., a
                                            5   biochemical test that measures the presence or concentration of a macromolecule or
                                            6   a small molecule in a solution using an antibody or antigen). Results are expressed
                                            7   as negative, positive, or numeric. Screening testing is also referred to as “initial”,
                                            8   “presumptive”, or “qualitative” testing.
                                            9         67.    Confirmation testing is a follow-up test performed on a separate
                                           10   portion of the original specimen to validate the identity and quantity of a specific
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                                           11   drug or metabolite. Confirmation testing is typically performed using either gas
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                                           12   chromatography-mass spectrometry or liquid chromatography-mass spectrometry,
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                                           13   and results are expressed as a concentration of a particular metabolite or analyte
                                           14   (e.g., nanograms per milliliter (ng/mL)). Confirmation testing is also referred to as
                                           15   “definitive” or “quantitative” testing.
                                           16                       The Impetus for the Pass-Through Scheme
                                           17         68.    In early 2017, Sonoma West was in extremely poor financial
                                           18   condition. Just three years before, in 2014, the hospital – then called Palm Drive
                                           19   Hospital – had closed and filed for bankruptcy.
                                           20         69.    The hospital reopened in 2015 under its current name – Sonoma West
                                           21   – but has consistently faced dire financial circumstances, generated little revenue
                                           22   and faced mounting debts. In February 2017, Sonoma West had outstanding debts
                                           23   of more than $6.8 million.
                                           24         70.    As a result, when the entity managing the hospital ended its contract in
                                           25   March 2017, the Palm Drive Health Care District, which owns Sonoma West,
                                           26   contacted multiple companies about taking over management or ownership of the
                                           27   hospital. The efforts to find an owner or new manager for the hospital were initially
                                           28   unsuccessful.

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                                            1         71.    By the spring of 2017, the hospital’s inpatient population had dropped
                                            2   to just two individuals.
                                            3         72.    Sonoma West’s failures were memorialized in a report issued by CMS
                                            4   in September 2017 that found the hospital’s governing board failed to provide
                                            5   adequate oversight on management, operations, and financials, which—the agency
                                            6   concluded—placed Sonoma West in a position of being unable to “ensure the
                                            7   provision of quality health care and services in a safe environment.”1
                                            8         73.    A safety risk in the eyes of a regulator was a massive opportunity in
                                            9   the eyes of Durall Capital and Reliance Labs. To them, Sonoma West was not a
                                           10   caregiver; it was a hospital that could be used to pass through laboratory testing and
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                                           11   mark up every urine test order by hundreds, if not thousands, of dollars. With
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                                           12   projections of thousands of these tests being billed every month, the potential
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                                           13   profits were too good to resist.
                                           14       Sonoma West’s Agreements with Durall Capital and Other Defendants
                                           15         74.    Formalizing the conspiracy, Sonoma West entered into a series of
                                           16   agreements with Durall Capital in or around April 2017.
                                           17         75.    The agreements included a Laboratory Management Services
                                           18   Agreement, a Hospital Management Services Agreement, a Laboratory Service
                                           19   Agreement for Confirmation Testing, a Consulting Agreement, and a Business
                                           20   Associate Agreement. True and correct copies of several of those agreements are
                                           21   attached as Exhibit A.
                                           22         76.    However, the full extent of the relationship between Sonoma West and
                                           23   other Defendants is unknown because some of the agreements have not been made
                                           24   public. As one member of the Palm Drive Health District’s Board of Directors has
                                           25   admitted, there were “unwritten verbal agreements” with Aaron Durall—ones that
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                                                 http://palmdrivehealthcaredistrict.org/wp-content/uploads/2016/12/PDHCD-
                                           28   SWMC-GovBody-Dec4-2017-Agenda-2of2.pdf (last visited May 22, 2018).

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                                            1   the defendants continue to keep secret.2
                                            2         77.    Even without the benefit of the “verbal agreements,” the roles that
                                            3   each of the defendants played in the conspiracy are captured in black and white. As
                                            4   laid out in the Laboratory Management Services Agreement, Durall Capital would
                                            5   be responsible for obtaining urine from drug rehab patients and routing it to
                                            6   Sonoma West—using lab equipment that Durall Capital would buy and install.
                                            7   Additionally, all of this new testing would be managed exclusively by Durall
                                            8   Capital and its personnel—not the hospital.
                                            9         78.    The agreement further provided that Durall Capital would bill insurers
                                           10   for these services using Sonoma West’s credentials. And, to ensure that insurers did
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                                           11   not detect Reliance Labs’ involvement, Defendants agreed that all reimbursement
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                                           12   would be made to Sonoma West.
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                                           13         79.    The conspirators entered a separate Laboratory Service Agreement for
                                           14   Confirmation Testing in furtherance of the conspiracy, as well. According to those
                                           15   terms, Durall Capital would perform confirmation testing on the specimens after the
                                           16   screening tests were complete.
                                           17         80.    While the written contract indicates that Sonoma West was to send the
                                           18   sample to Durall Capital for confirmation testing after the screening test was
                                           19   performed, in practice, all urine specimens were first consolidated by Reliance
                                           20   Labs. Reliance Labs would then split the sample, retaining a portion to conduct
                                           21   confirmatory testing and routing the remainder through Defendants’ network of
                                           22   pass-through hospitals—of which Sonoma West was one of many options—for
                                           23   screening testing.
                                           24         81.    Defendants would pick-and-choose which hospital to use for testing
                                           25   and billing the services. Geography appeared to be a driving factor in determining
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                                                 http://www.northbaybusinessjournal.com/northbay/sonomacounty/8166723-
                                           28   181/sonoma-west-medical-center-cbs-news (last visited May 22, 2018).

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                                            1   where the specimen would end up—with most of the urine obtained in California
                                            2   being run through Sonoma West.
                                            3          82.      All confirmation testing, according to the contract, would be billed
                                            4   using Sonoma West’s billing credentials.
                                            5          83.      Put another way, the parties agreed that Sonoma West would bill for
                                            6   testing that Reliance Labs performed—a fact that was concealed from Anthem as
                                            7   part of the scheme.
                                            8                   The Shuttling of Urine Specimens across the Country
                                            9          84.      With its agreements with Sonoma West in hand, Durall Capital needed
                                           10   to acquire as much urine as possible. To do so, upon information and belief, Durall
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                                           11   Capital and Reliance Labs turned to a network of marketers and referring providers
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                                           12   who would supply the specimens for testing. Detox and rehab facilities in Orange
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                                           13   County were an attractive target and, it appears, became the primary focus for urine
                                           14   solicitation.
                                           15          85.      Upon information and belief, in marketing to physicians and detox
                                           16   clinics, the marketing teams represented that the testing would be performed by
                                           17   Reliance Labs. The marketers concealed from the clinicians that the urine would
                                           18   actually be routed to an out-of-network 37-bed hospital by way of a 5,000 mile
                                           19   odyssey.
                                           20          86.      Upon information and belief, the marketers further hid from the
                                           21   ordering clinicians that by diverting the billing and testing to that hospital, the
                                           22   conspirators would be transforming a $32 test into as much as a $3,500 obligation
                                           23   to the patient and his or her insurer.
                                           24          87.      When the ordering physicians were provided with the test results, they
                                           25   received the results from Reliance Labs, on Reliance Labs letterhead—with no
                                           26   mention of Sonoma West having any involvement in the care.
                                           27                             Billing for Urine Toxicology Testing
                                           28          88.      As part of the conspiracy, Durall Capital took on the responsibility for

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                                            1   billing insurers for the testing, though this role was soon given to Medivance, under
                                            2   the direction of Neisha Carter Zaffuto.
                                            3         89.    In furtherance of the conspiracy, Medivance took numerous steps to
                                            4   mislead Anthem about the services for which claims were being submitted.
                                            5         90.    First, Defendants misrepresented who had been ordered to perform the
                                            6   testing at issue. In submitting claims for reimbursement to Anthem under Sonoma
                                            7   West’s facility and billing information, Defendants represented that the ordering
                                            8   physicians had ordered this testing from Sonoma West when, in reality, other labs
                                            9   had been ordered to perform the testing and the ordering physicians had no idea that
                                           10   Sonoma West was involved in providing services for their patients.
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                                           11         91.    Second, the claims submitted by Defendants included multiple
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                                           12   misrepresentations that suggested that the member at issue was a Sonoma West
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                                           13   patient who had been seen at the Sonoma West facility and was under the treatment
                                           14   of a Sonoma West physician. This was used to justify the excessive reimbursement
                                           15   that Defendants sought from Anthem when, in reality, Sonoma West was, at most,
                                           16   acting as a reference lab. It also served to further conceal the existence of the pass-
                                           17   through scheme and the identities of the co-conspirators. These misrepresentations
                                           18   included: (i) bill type “131” in some instances, which indicated a patient status of
                                           19   outpatient; (ii) admission type; (iii) source of admission; (iv) discharge status; (v)
                                           20   attending physician; and (vi) diagnosis code. All of this information misrepresented
                                           21   the claim as if having been for a patient seen at the hospital and having been under
                                           22   the care of hospital personnel.
                                           23         92.    Third, the claims at issue concealed the identities and involvement of
                                           24   the co-conspirators in the pass-through scheme, including, in some instances, the
                                           25   fact that another entity was performing the testing that was being billed by Sonoma
                                           26   West. For example, the Sonoma West claims never utilized modifier “90” or other
                                           27   information to indicate the involvement of reference or referring labs. Nor did the
                                           28   claims provide the NPI or other identifying information for Reliance Labs, which

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                                            1   was involved in much of the testing and in all of the collection of urine specimens.
                                            2         93.    Fourth, Defendants misrepresented the billed charge amount when
                                            3   they billed $3500 for each claim submitted. By claiming $3500, Defendants: (i)
                                            4   inflated the actual amount by at least 20 times; (ii) failed to reflect the amounts paid
                                            5   to Reliance Labs for the testing that it performed; and (iii) failed to reflect that,
                                            6   upon information and belief, Defendants were systematically waiving and/or
                                            7   making no meaningful effort to collect the significant cost-sharing obligations that
                                            8   Anthem and the BCBS Plans’ members owed.
                                            9         94.    Anthem reasonably relied on these material misrepresentations and
                                           10   omissions in making payment on the claims at issue.
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                                           11                            Reimbursements Paid by Anthem
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                                           12         95.    When claims for toxicology services are submitted to Anthem by out-
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                                           13   of-network laboratories, they are paid according to Anthem’s professional lab fee
                                           14   schedule. For service code 80307 – the code for screening toxicology tests
                                           15   primarily utilized by Defendants – Anthem’s professional lab fee schedule pays
                                           16   approximately $32 per test.
                                           17         96.    However, the same fee schedule does not apply to claims submitted by
                                           18   facilities, such as hospitals. Hospitals often receive greater reimbursement because
                                           19   they typically have greater overhead and provide a wider variety of services than a
                                           20   professional laboratory. For Anthem, member benefits plans determine the amount
                                           21   paid for hospital claims.
                                           22         97.    Additionally, when a provider is out-of-network, member benefits are
                                           23   defined in their explanation of coverage, which outlines what percentage will be
                                           24   paid for out-of-network facilities, based on the total charge indicated on the UB-04
                                           25   or equivalent form. Thus, when Sonoma West billed $3500 as a hospital, Anthem
                                           26   paid a percentage of the charges in line with the member’s benefits plan, and the
                                           27   member was responsible for any remainder.
                                           28         98.    Had Sonoma West submitted these claims on a CMS 1500 form,

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                                            1   which are appropriate for lab services, or disclosed that the claims were for referred
                                            2   testing, it would have received approximately $32 per claim, in line with Anthem’s
                                            3   professional lab fee schedule.
                                            4         99.    Sonoma West’s claims made no mention of Reliance Labs, which, as
                                            5   Defendants knew, would indicate that there was no referring or reference lab
                                            6   involved in the testing at issue. This, of course, was a material omission, and one
                                            7   that was necessary to prevent Anthem from discovering the pass-through scheme.
                                            8   In fact, Anthem had placed Reliance Labs on a prepayment review beginning in
                                            9   April 2017 due to a high volume of questionable claims, which meant that most
                                           10   claims being submitted directly by Reliance Labs were being denied by Anthem.
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                                           11         100. As the conspirators agreed at the outset, Sonoma West cut Durall
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                                           12   Capital and Reliance Labs in on the proceeds of the scheme—paying the two
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                                           13   entities millions of dollars for their role in defrauding Anthem. Sonoma West
                                           14   retained approximately one-third of the payments received from insurers, while the
                                           15   remaining two-thirds was distributed to the other Defendants at the direction of
                                           16   Durall Capital.
                                           17      Defendants Take Additional Steps to Conceal Their Fraud from Anthem
                                           18         101. On October 30, 2017, Anthem received a complaint from a member in
                                           19   Saint Louis, Missouri. She had received a statement for toxicology services
                                           20   purportedly performed at Sonoma West. This had to be a mistake, she explained—
                                           21   she had never been to California and had not received the services the statement
                                           22   claimed were provided by Sonoma West.
                                           23         102. Anthem contacted Sonoma West to confirm whether it had cared for
                                           24   this patient. Hospital staff stated that the member was not one of its patients, as
                                           25   there was no record of that individual in its system.
                                           26         103. In light of this revelation, Anthem’s Special Investigations Unit—
                                           27   which handles investigations of fraud, waste, and abuse—sent a medical-records
                                           28   request to Sonoma West seeking records related to a random sample of 50 urine

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                                            1   toxicology claims for which Anthem had previously reimbursed the hospital.
                                            2         104. In its letter, Anthem asked that Sonoma West identify any third party
                                            3   laboratories involved in the claim.
                                            4         105. On November 16, 2017, Anthem received a call from someone
                                            5   identifying herself as Preet Kaur, a Release of Information Specialist at Sonoma
                                            6   West. Ms. Kaur reported that she “could not locate a single patient” from the audit
                                            7   request in any of the Sonoma West files. Ms. Kaur further noted that the account
                                            8   numbers provided on the claims forms did not match Sonoma West patient account
                                            9   numbers.
                                           10         106. Later that day, Anthem received a call from Angela Mills, a Health
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                                           11   Information Management Director at Sonoma West, who confirmed that the
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                                           12   patients had not been seen at the hospital and “were not patients” of Sonoma West.
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                                           13         107. On November 21, 2017, a woman introducing herself as “Neisha”
                                           14   placed a call to Anthem. She claimed to be a “Release Information Specialist with
                                           15   Sonoma West” in the Health Information Department. Neisha claimed to be
                                           16   responsible for medical records at the hospital and told Anthem that she was able to
                                           17   locate the members requested in the audit letter. She requested an additional ten
                                           18   days to provide the documents requested, which Anthem granted.
                                           19         108. On November 29, 2017, an Anthem investigator called Sonoma West,
                                           20   asking to speak with Neisha. He was directed to a health information clerk, who
                                           21   confirmed that there were five employees in the records department, none of whom
                                           22   was named Neisha.
                                           23         109. Later that day, Ms. Mills called Anthem to report that Neisha did work
                                           24   at Sonoma West, but in a different department.
                                           25         110.   Upon information and belief, Neisha was not a Sonoma West
                                           26   employee, but rather Neisha Carter Zaffuto, President of Medivance, who was
                                           27   represented to be a Sonoma West employee in order to conceal the identities and
                                           28   involvement of other Defendants.

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                                            1           Medical Records for 50 Members Received from “Sonoma West”
                                            2           111. On December 6, 2017, Anthem received medical records related to
                                            3   some of the patients in the sample.
                                            4           112. In its request for records, Anthem had asked for the documentation
                                            5   that any toxicology lab would be expected to have for claims that it billed:
                                            6   laboratory records, urine drug test results, order forms, laboratory referral
                                            7   documentation, requisition order forms, procedure reports, and other documentation
                                            8   regarding services performed. Anthem further requested information regarding
                                            9   whether any third-party laboratory was involved in any of the claims.
                                           10           113. The documents Anthem received did not come close to what would be
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                                           11   expected from an entity that had provided the services billed. And they appeared
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                                           12   designed to further conceal the conspiratorial conduct. An exemplary redacted copy
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                                           13   is attached as Exhibit B.
                                           14           114. To this day, Sonoma West has been unable to provide Anthem a single
                                           15   requisition form indicating that the testing had actually been ordered by a physician
                                           16   – let alone that Sonoma West had been the entity from whom the testing had been
                                           17   ordered.
                                           18           115. None of the lab documentation provided was signed by the lab
                                           19   technician who purportedly performed the testing. This presents not only a quality
                                           20   of care issue, but also serves to conceal where the testing was actually performed.
                                           21           116. The section of the documentation that should have indicated the draw
                                           22   locations – i.e., where the specimen was provided by the patient – was left blank,
                                           23   obscuring the fact that they had been drawn hundreds, if not thousands, of miles
                                           24   away.
                                           25           117. Despite Anthem’s explicit request that it identify any third-party labs
                                           26   involved in the testing, Sonoma West did not acknowledge or indicate any such
                                           27   labs were involved, much less that many of the services were provided 2,600 miles
                                           28   away at Reliance Labs – the lab that had actually been ordered to perform the

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                                            1   testing.
                                            2          118. Moreover, at least some of the test results produced were different
                                            3   from what was provided to ordering physicians—i.e., the results that bore Reliance
                                            4   Labs letterhead when provided to the physicians, were now cloaked in Sonoma
                                            5   West letterhead—indicating that they had been altered before being produced to
                                            6   Anthem.
                                            7                         Ordering Physicians Confirmed That
                                            8                They Had Not Approved Sonoma West As The Testing Lab
                                            9          119. Anthem’s Special Investigations Unit has interviewed some of the
                                           10   physicians who purportedly ordered the tests at issue. Those interviews confirm that
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                                           11   the co-conspirators deceived not just Anthem, but the treating physicians and their
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                                           12   patients, as well.
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                                           13          120. Physicians stated that they never ordered testing from Sonoma West,
                                           14   nor did they receive test results from Sonoma West. In fact, the physicians stated
                                           15   that the tests results they had received were from different laboratories, primarily
                                           16   Reliance Labs.
                                           17          121. The physicians also confirmed that they were not credentialed at
                                           18   Sonoma West, nor had they ever been employed by Sonoma West. In fact, of the
                                           19   physicians interviewed, only one had ever even heard of Sonoma West.
                                           20          122. When asked, the physicians could think of no legitimate reason why
                                           21   Sonoma West would be involved in testing their patients’ specimen.
                                           22                                      Sample Claim
                                           23          123. The following sample claim is representative of the claims at issue in
                                           24   this matter.
                                           25          124. Pasted below is a copy of a claim form for toxicology services that
                                           26   Sonoma West submitted to Anthem (with patient identifying information has been
                                           27   redacted).
                                           28          125. Anthem paid Sonoma West $2,100 for the services billed.

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                                           19         126. The claim form includes several material misrepresentations.
                                           20         127. First, the initial box in the upper left corner identifies Sonoma West
                                           21   Medical Center as the provider who performed the testing, and lists its address as
                                           22   the location where the services were rendered.
                                           23         128. Box 76 in the lower right identifies as the “attending physician” a
                                           24   doctor who was not an attending physician at Sonoma West. The physicians listed
                                           25   confirmed in an interview that she had no relationship whatsoever with Sonoma
                                           26   West and was certainly not an attending physician at that facility.
                                           27         129. She further confirmed that she did not have the specimen sent to
                                           28   Sonoma West, nor did she intend that it be tested there.

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                                            1          130. Sonoma West billed Anthem using CPT code 80307 (screening
                                            2   testing, any number of drug classes) and revenue code 0300 (general laboratory) for
                                            3   a total of $3,500, which represents the hospital’s billed charges. Modifier 90 was
                                            4   not included with this claim, nor were the identities of any reference or referring
                                            5   labs included.
                                            6          131. In support of this claim, Sonoma West provided a copy of the test
                                            7   results to Anthem:
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                                           18          132. The results are printed on Sonoma West letterhead, as if Sonoma West
                                           19   had been ordered to do the testing and had, in fact, ordered and performed the
                                           20   testing for its patients.
                                           21          133. An Anthem investigator showed this record to the physician who
                                           22   purportedly ordered the test at issue. The physician confirmed that she had never
                                           23   been provided these results—nor had she ever seen lab results that indicated
                                           24   Sonoma West had performed testing for one of her patients. The physician was
                                           25   certain that her provider information had been used without her knowledge or
                                           26   permission.
                                           27          134. Also among the records provided to Anthem in support of this claim
                                           28   was a document on the letterhead of Reliance Labs:

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                                           19         135. The form includes a space for the patient to “consent and agree” to
                                           20   provide his urine specimen “to the facility designated by [his] doctor as described
                                           21   above.” The form also includes a space for the physicians to sign to authorize the
                                           22   testing. It contains neither patient nor physician signature.
                                           23         136. The form indicates that the physician ordered three distinct tests—but
                                           24   Sonoma West was unable to produce an order for any of those services. One of
                                           25   those tests was “SWMC-SO,” which, upon information and belief, stands for
                                           26   Sonoma West Medical Center – Standing Order. The physicians identified as
                                           27   having ordered these tests confirmed to the Anthem investigator that she had not
                                           28   ordered such testing from Sonoma West and that she did not have any standing

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                                            1   order for Sonoma West.
                                            2         137. In addition, the form represents that the ordering physician worked at
                                            3   Integritox Laboratory. In her interview, that physician confirmed that she not only
                                            4   did not work at that lab, she had never heard of it.
                                            5         138. As a result, in reliance on the misrepresentations contained on the UB-
                                            6   04 equivalent claim form and material information that further served to mask the
                                            7   pass-through scheme, Anthem paid Sonoma West $2,100, 60% of the claim.
                                            8         139. The remaining $1,400 was supposed to be paid by the Anthem
                                            9   member, who owed 40% of the service charge as coinsurance, but, upon
                                           10   information and belief, Defendants waived and/or made no effort to collect that
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                                           11   amount from the member.
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                                           12         140. Had a standard out-of-network reference lab billed for these services, it
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                                           13   would have been paid approximately $32 for the claim, in line with Anthem’s lab
                                           14   fee schedule. Had Reliance Labs billed directly for the claim, it likely would have
                                           15   been denied outright due to the prepayment review instituted by Anthem.
                                           16           Failure to Collect Anthem Members’ Cost-Sharing Obligations
                                           17         141. As part of their benefits plans with Anthem and the BCBS Plans,
                                           18   members owe cost-sharing responsibilities (e.g., copayments, coinsurance, and/or
                                           19   deductibles) by making payments to providers.
                                           20         142. The amount of these responsibilities varies depending on a number of
                                           21   factors, including the services provided and whether the provider is in- or out-of-
                                           22   network. The responsibilities are typically much higher for services provided by
                                           23   out-of-network providers.
                                           24         143. Anthem interviewed certain members who had toxicology lab services
                                           25   that were billed to Anthem.
                                           26         144. The members interviewed stated that they had never been to Sonoma
                                           27   West and, indeed, had never heard of it. None of the members stated that they had
                                           28   ever received a bill for copayment, coinsurance, or deductibles from Sonoma West.

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                                            1         145. For example, one member interviewed owed $8,000 in co-insurance
                                            2   responsibility and about $1,900 in deductible responsibly. Yet, the member could
                                            3   not recall ever receiving a bill for either co-insurance or a deductible from Sonoma
                                            4   West. The member was sure that she would have remembered a bill for $8,000.
                                            5         146. Other members had similarly high cost-sharing obligations.
                                            6         147. Upon information and belief, Defendants systematically waived and/or
                                            7   made no effort to collect these cost-sharing obligations in an attempt to further
                                            8   conceal the pass-through scheme because if members received significant bills from
                                            9   a small hospital in northern California that they had never been to or even heard of,
                                           10   they likely would have complained to Anthem and the BCBS Plans, which would
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                                           11   have brought this scheme to light.
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                                           12                    Defendants’ Attempts to Circumvent Anthem’s
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                                           13                   Efforts to Detect and Eliminate Improper Billing
                                           14         148. In light of the improper and fraudulent billing by Sonoma West,
                                           15   beginning in January 2018, Anthem instituted a “zero-pay” system edit into its
                                           16   claims software to pay zero dollars for urine toxicology claims submitted by
                                           17   Sonoma West.
                                           18         149. Specifically, the edit flagged claims with bill type 141, revenue code
                                           19   0300, and CPT code 80307.
                                           20         150. Yet, Defendants’ billing patterns have evolved – using different, and
                                           21   inaccurate, coding for the same services – which has made it even more difficult for
                                           22   Anthem to detect improper claims.
                                           23         151. For example, Defendants have submitted hundreds of claims with the
                                           24   bill type of 131, which is intended for “outpatients” who have been admitted to and
                                           25   discharged from an outpatient department at Sonoma West. Of course, the services
                                           26   were not being provided to Sonoma West outpatients so this, too, was a lie—but it
                                           27   enabled these improper claims to further evade Anthem’s efforts to detect them. In
                                           28   fact, some of the patients who were now being billed as “131” had initially been

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                                            1   billed as “141”, further demonstrating the impropriety of the “131” bill type.
                                            2         152. Defendants also used a variety of revenue codes (306, 309, 920, and
                                            3   929) and CPT codes (87633, 87486, 87507, 87798, 87581), none of which is
                                            4   appropriate for urine toxicology testing, but which made it more difficult to detect
                                            5   improper claims.
                                            6         153. In some cases, Defendants simply used revenue code of 500, which is
                                            7   intended for “Outpatient Services – General Classification.” The revenue code does
                                            8   not indicate that any toxicology lab services have been provided.
                                            9         154. Defendants also began submitting claims without including any CPT
                                           10   code at all, which made it very difficult for Anthem to detect.
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                                           11         155. In February 2018, Anthem approached Sonoma West and the District
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                                           12   with its concerns regarding this improper billing.
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                                           13         156. According to public statements made by or on behalf of the entities,
                                           14   after conducting an investigation into the merits of Anthem’s concerns, Sonoma
                                           15   West purportedly shut down the hospital’s toxicology program at the end of
                                           16   February 2018.
                                           17                                         COUNT I
                                           18                      FRAUD & FRAUDULENT CONCEALMENT
                                           19         157. Anthem and the BCBS Plans incorporate by reference all preceding
                                           20   paragraphs as if fully set forth herein and further alleges as follows:
                                           21         158. As alleged herein, Defendants made, or caused to be made, intentional
                                           22   misrepresentations of material facts relating to the insurance claims submitted to
                                           23   Anthem for reimbursement, with the intent to induce Anthem and the BCBS Plans
                                           24   to rely on those misrepresentations and pay those insurance claims.
                                           25         159. Each Defendant knowingly participated in the fraud by agreeing to
                                           26   submit or cause to be submitted the claims to Anthem as if they were appropriate
                                           27   for reimbursement.
                                           28         160. Each Defendant’s participation in the fraudulent scheme includes, but

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                                            1   is not limited to, the following:
                                            2                a.     Durall Capital: Durall Capital took over management of the
                                            3                       Sonoma West hospital in order to gain access to Sonoma West’s
                                            4                       relationships and favorable reimbursement rates with insurers,
                                            5                       including Anthem, which was essential to the success of the
                                            6                       scheme. Durall Capital engaged the other Defendants, including
                                            7                       Medivance, Reliance Labs, and Neisha Carter Zaffuto, to
                                            8                       perform functions essential to the success of the scheme, and to
                                            9                       use Sonoma West’s facility and billing information to submit
                                           10                       claims to Anthem. Durall Capital used the on-site laboratory that
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                                           11                       it installed at the Sonoma West facility as a front for the
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                                           12                       fraudulent scheme, and took steps to undermine Anthem’s
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                                           13                       efforts to identify and stop the scheme. Durall Capital also
                                           14                       helped procure the thousands of urine specimens that were
                                           15                       consolidated by Reliance Labs and ultimately tested as part of
                                           16                       this scheme. Durall Capital conspired with the other Defendants
                                           17                       to submit the claims at issue to Anthem while knowing that the
                                           18                       claims contained material misrepresentations and omissions. In
                                           19                       addition, when payment was made by Anthem to Sonoma West,
                                           20                       Durall Capital controlled the distribution of those funds and
                                           21                       shared such payment with the other Defendants, in exchange for
                                           22                       their participation in the fraudulent scheme.
                                           23                b.     Reliance Labs: Reliance Labs conducted some of the testing at
                                           24                       issue, in spite of the fact that it conspired with the other
                                           25                       Defendants to submit the corresponding claims to Anthem as if
                                           26                       the testing were performed at and by Sonoma West. In addition,
                                           27                       when test results were submitted to the physicians who had
                                           28                       ordered the testing, Reliance Labs was the party to submit the

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                                            1                    test results to those physicians on its letterhead, regardless if the
                                            2                    testing was performed by it or Sonoma West. Reliance Labs also
                                            3                    facilitated the collection of urine specimens from physicians
                                            4                    around the country and the re-distribution of those specimens
                                            5                    Defendants’ network of hospitals throughout the country for
                                            6                    testing and/or billing. This was essential after Anthem instituted
                                            7                    its prepayment review of claims submitted by Reliance Labs
                                            8                    beginning in April 2017.
                                            9               c.   Aaron Durall: Aaron Durall was responsible for the
                                           10                    management of the scheme, including the management and
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                                           11                    control of the Sonoma West facility, including the new
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                                           12                    toxicology laboratory that he helped to install. Aaron Durall was
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                                           13                    primarily responsible for Defendants’ conspiracy to commit this
                                           14                    fraudulent scheme, causing Sonoma West’s agreement with
                                           15                    Durall Capital and other Defendants, and engaging Reliance
                                           16                    Labs, Medivance, and Neisha Carter Zaffuto to participate as
                                           17                    well. Aaron Durall created Durall Capital and, upon information
                                           18                    and belief, arranged for its management agreement with Sonoma
                                           19                    West specifically to carry out this fraudulent scheme. Further,
                                           20                    upon information and belief, Aaron Durall has personally
                                           21                    received a substantial portion of the amount paid by Anthem and
                                           22                    the BCBS Plans as a result of this fraudulent scheme.
                                           23               d.   Medivance: Medivance agreed with Sonoma West, Durall
                                           24                    Capital, Reliance Labs, Aaron Durall, and Neisha Carter Zaffuto
                                           25                    to prepare and submit claims to Anthem on behalf of Sonoma
                                           26                    West, in spite of the fact that it knew the claims contained
                                           27                    numerous material misrepresentations and omissions.
                                           28                    Medivance worked closely with Durall Capital and Aaron

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                                            1                    Durall to manage numerous functions of Sonoma West remotely
                                            2                    from Florida (including billing and contracting with payors), in
                                            3                    order to prevent on-site employees at Sonoma West and
                                            4                    insurers, including the BCBS Plans, from identifying this
                                            5                    fraudulent scheme. When Anthem began investigating the
                                            6                    propriety of the claims being submitted from “Sonoma West,”
                                            7                    Medivance took steps to conceal the identities of the other
                                            8                    Defendants from Anthem and the existence of the scheme by
                                            9                    responding to Anthem’s request for information as if it was
                                           10                    Sonoma West including, upon information and belief, test
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                                           11                    results from Reliance Labs that were copied onto Sonoma West
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                                           12                    letterhead.
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                                           13               e.   Sonoma West: Sonoma West agreed to allow Durall Capital and
                                           14                    Aaron Durall to take over management of the hospital and to
                                           15                    establish the toxicology lab at issue. Sonoma West also agreed
                                           16                    to have Medivance handle the billing of claims to insurers and to
                                           17                    have Reliance Labs perform at least some of the testing at issue.
                                           18                    Additionally, Sonoma West conducted lab testing that no
                                           19                    physician had ordered from it, nor was the testing it performed
                                           20                    for any of its patients. Further, Sonoma West took steps to
                                           21                    conceal the identities and involvement of the other Defendants
                                           22                    from Anthem, including, upon information and belief,
                                           23                    representing to Anthem that Neisha Carter Zaffuto was an
                                           24                    employee of Sonoma West and providing purported test results
                                           25                    on Sonoma West letterhead that had never been provided to the
                                           26                    ordering physicians. In exchange for its efforts, Sonoma West
                                           27                    received approximately one-third of the funds extracted from
                                           28                    Anthem and the BCBS Plans.

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                                            1               f.    Neisha Carter Zaffuto: As President of Medivance, Neisha
                                            2                     Carter Zaffuto was responsible for Medivance’s agreement to
                                            3                     submit claims at issue to Anthem on behalf of Sonoma West, in
                                            4                     spite of the fact that she knew the claims were not payable by
                                            5                     Anthem and were fraudulent. After agreeing to participate in the
                                            6                     scheme, Neisha Carter Zaffuto oversaw and directed
                                            7                     Medivance’s submission of fraudulent claims to Anthem on
                                            8                     behalf of Sonoma West, and caused Medivance to take the
                                            9                     actions described above. Upon information and belief, Neisha
                                           10                     Carter Zaffuto was also involved corresponding with Anthem
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                                           11                     SIU in response to its requests for information in a manner that
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                                           12                     concealed the fact that other Defendants were involved in the
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                                           13                     testing and billing of the claims at issue, including procuring test
                                           14                     results from Reliance Labs to copy onto Sonoma West
                                           15                     letterhead.
                                           16         161. Specifically, Defendants caused insurance claims to be submitted to
                                           17   Anthem. Many of those claims misrepresented, at the least:
                                           18               a.    the rendering provider of the testing (which each claim said was
                                           19                     Sonoma West);
                                           20               b.    the rendering provider’s specialty code and description (which
                                           21                     each claim said was a hospital);
                                           22               c.    the rendering provider’s NPI (for which each claim provided
                                           23                     Sonoma West’s NPI);
                                           24               d.    the rendering provider’s tax identification number (for which
                                           25                     each claim provided Sonoma West’s tax identification number);
                                           26               e.    the rendering provider’s address (for which each claim provided
                                           27                     Sonoma West’s address);
                                           28               f.    admission type (often misrepresented as “2,” which indicates an

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                                            1                      urgent admission, when there was no admission);
                                            2                g.    source of admission (often misrepresented as “9,” which
                                            3                      indicates information not available, when there was no
                                            4                      admission);
                                            5                h.    discharge status (often misrepresented as “01,” which indicates a
                                            6                      discharge to home or self care when there was no admission
                                            7                      and, thus, no discharge);
                                            8                i.    the attending physician (for which each claim provided the name
                                            9                      and NPI of the healthcare provider that referred the testing
                                           10                      originally);
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                                           11                j.    the patients’ status (which in some instances represented the
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                                           12                      patient as having been an “outpatient” even though the patient
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                                           13                      had never been to Sonoma West);
                                           14                k.    the CPT code (which failed to include modifier 90, used to
                                           15                      identify referred claims);
                                           16                l.    the total charge (representing $3,500 as the charge without
                                           17                      regard to the appropriate billing amount set forth in Anthem’s
                                           18                      fee schedule and without disclosing that cost-sharing obligations
                                           19                      were routinely waived and without disclosing the amounts paid
                                           20                      to Reliance Labs for the testing that it performed); and
                                           21                m.    that the billing information as shown on the face of each UB-04
                                           22                      equivalent claim form submitted to Anthem was “true, accurate
                                           23                      and complete.”
                                           24         162. By submitting the claims on UB-04 electronic equivalent forms,
                                           25   Defendants also falsely certified that it “did not knowingly or recklessly disregard
                                           26   or misrepresent or conceal material facts.”
                                           27         163. The claims also failed to disclose to Anthem and the BCBS Plans
                                           28   material facts relating to the insurance claims for laboratory testing that Sonoma

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                                            1   West and/or each Defendant submitted, or caused to be submitted, to Anthem,
                                            2   including but not limited to that Sonoma West was participating in a pass-through
                                            3   scheme designed to misuse the relationship between Sonoma West and Anthem and
                                            4   conceal the fact that (i) Reliance Labs – not Sonoma West – was performing at least
                                            5   some of the testing; (ii) physicians were ordering the urine drug testing be
                                            6   performed by other labs, such as Reliance Labs, and not Sonoma West; and (iii)
                                            7   that the Anthem members being tested were not patients of Sonoma West nor had
                                            8   never visited Sonoma West.
                                            9          164. Nearly every urine drug testing claim submitted in Sonoma West’s
                                           10   name from at least June 2017 to the present was fraudulent.
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                                           11          165. Further, Sonoma West, Medivance, and other Defendants have taken
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                                           12   additional steps, including using different and improper billing codes to further
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                                           13   misrepresent the testing being performed and to circumvent Anthem’s efforts to
                                           14   stop this fraud.
                                           15          166. Additionally, upon information and belief, in response to requests from
                                           16   Anthem, Defendants provided test results of Sonoma West letterhead that had never
                                           17   been provided to the ordering physicians to further conceal that Reliance Labs and
                                           18   other Defendants were involved in the testing and billing of the claims submitted.
                                           19          167. During the course of this scheme, Defendants submitted more than
                                           20   15,000 fraudulent claims to Anthem, causing Anthem to pay on behalf of itself and
                                           21   the BCBS Plans more than $16 million to Defendants.
                                           22          168. Even if Sonoma West performed some of the testing on site, it failed to
                                           23   disclose the identity of the referring provider, the fact that these were not Sonoma
                                           24   West patients, the fact that the referring providers had not provided their samples to
                                           25   be tested at Sonoma West, and the ordering physicians were not employed or
                                           26   credentialed by Sonoma West and had not ordered Sonoma West to perform the
                                           27   testing.
                                           28          169. Defendants intentionally designed and operated their scheme to

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                                            1   conceal from Anthem the identity of the party or parties submitting the claims to
                                            2   Anthem.
                                            3         170. Defendants understood that, under the circumstances, and given the
                                            4   volume of claims received by Anthem from healthcare providers of all types,
                                            5   Sonoma West had a special relationship of trust and confidence toward Anthem and
                                            6   the BCBS Plans that gave rise to a duty to speak and disclose material information
                                            7   regarding the claims submitted.
                                            8         171. The scheme Defendants implemented and operated took advantage of
                                            9   Sonoma West’s special relationship with Anthem and the BCBS Plans by hiding
                                           10   Defendants’ wrongful billing and testing practices behind Sonoma West’s name
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                                           11   and billing information.
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                                           12         172. By certifying for each claim that the billing information was “true,
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                                           13   accurate, and complete” and that they “did not knowingly or recklessly disregard or
                                           14   misrepresent or conceal material facts,” Defendants had a duty to disclose to
                                           15   Anthem information material to the claims submitted to Anthem, so as not to
                                           16   mislead Anthem and the BCBS Plans.
                                           17         173. At the time that each claim was submitted to Anthem, each Defendant
                                           18   knew that these representations were false, and that the claim forms contained
                                           19   material omissions.
                                           20         174. The misrepresentations made on the claims to Anthem were material
                                           21   to Anthem’s determination of whether the claims were payable, as well as the
                                           22   amount at which they were payable.
                                           23         175. The omissions were similarly material to Anthem’s determination of
                                           24   whether the claims were payable, as well as the amount at which they were payable.
                                           25         176. Specifically, by making the material misrepresentations and omissions,
                                           26   Defendants intended for Anthem to rely on those misrepresentations and to induce
                                           27   Anthem to pay Sonoma West for the claims at significantly higher hospital
                                           28   reimbursement rates.

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                                            1         177. Defendants also hid the confirmation testing being performed by
                                            2   Reliance Labs by masking that testing as screening testing on claims forms –
                                            3   utilizing CPT code 80307 – to conceal Reliance Labs identity and involvement.
                                            4         178. Further, by submitting claims on UB-04 equivalent-forms, instead of
                                            5   CMS 1500 forms that are appropriate for laboratories, Defendants knew or should
                                            6   have known that Anthem would construe the urine drug testing as having been
                                            7   performed at and by a hospital for hospital patients on the orders of the hospital’s
                                            8   physicians and would reimburse at much higher rates.
                                            9         179. Defendants knew, or should have known, that this scheme should have
                                           10   been disclosed to Anthem and the BCBS Plans. Yet, they failed to disclose the
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                                           11   scheme.
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                                           12         180. In failing to disclose the aforementioned material information to
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                                           13   Anthem and the BCBS Plans, Defendants acted willfully and in bad faith.
                                           14         181. Anthem and the BCBS Plans relied on the claim forms submitted to it,
                                           15   including the misrepresentations and false certifications contained thereon, as well
                                           16   as the material omissions, when determining both whether to pay each claim and
                                           17   how much to pay for each claim.
                                           18         182. Had Anthem and the BCBS Plans been aware that the claims
                                           19   misrepresented the services in order to make them appear payable, when in fact
                                           20   they were not, it could have taken additional measures to safeguard against
                                           21   inappropriate billing, including instituting a prepayment review that likely would
                                           22   have ensured that payment was not made on such claims. Similarly, had Defendants
                                           23   disclosed the aforementioned material omissions, Anthem would not have made
                                           24   payment on the claims or would have made payment at significantly lower rates.
                                           25         183. Defendants had superior and special knowledge of the pass-through
                                           26   scheme, as set forth herein, and the participants in the scheme took steps designed
                                           27   to prevent Anthem and the BCBS Plans from identifying the scheme or the
                                           28   misrepresentations contained in the claim forms submitted to Anthem.

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                                            1          184. As a result, at the time that Anthem received the claims, Anthem and
                                            2   the BCBS Plans were unaware of the pass-through scheme, and it was not
                                            3   reasonably discoverable by Anthem and the BCBS Plans.
                                            4          185. Anthem and the BCBS Plans reasonably relied on the material
                                            5   misrepresentations made, and made payment on the claims to Sonoma West.
                                            6          186. As a direct and proximate result of Defendants’ material
                                            7   misrepresentations, Anthem and the BCBS Plans have been damaged in an amount
                                            8   to be determined at trial.
                                            9                                         COUNT II
                                           10                          NEGLIGENT MISREPRESENTATION
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                                           11          187. Anthem and the BCBS Plans incorporate by reference all preceding
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                                           12   paragraphs as if fully set forth herein and further alleges as follows:
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                                           13          188. The insurance claims submitted by Defendants, or caused to be
                                           14   submitted by Defendants, contained material misrepresentations of facts, including
                                           15   but not limited to those described in the Paragraphs above.
                                           16          189. Those representations were either false, made without reasonable
                                           17   grounds for believing them to be true, made without knowledge of their truth or
                                           18   falsity, or made under circumstances in which Defendants ought to have known
                                           19   their falsity.
                                           20          190.      Had Anthem and the BCBS Plans been aware of the material
                                           21   misrepresentations, Anthem would not have paid those claims.
                                           22          191. The submission of an insurance claim to a payor constitutes a
                                           23   certification and representation that the information shown on the claim is true,
                                           24   accurate, and complete, and that the submitter did not knowingly or recklessly
                                           25   disregard or misrepresent material facts.
                                           26          192. Defendants had superior and special knowledge of its scheme relating
                                           27   to urine drug testing billing, as set forth herein, but it was not known or reasonably
                                           28   discoverable by Anthem.

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                                            1         193.   Defendants had a duty to disclose to Anthem and the BCBS Plans
                                            2   information material to the claims that Defendants submitted, or caused to be
                                            3   submitted so as not to mislead Anthem and the BCBS Plans.
                                            4         194. The parties understood that, under the circumstances, and given the
                                            5   volume of claims received by Anthem from healthcare providers of all types,
                                            6   Defendants had a special relationship of trust and confidence toward Anthem that
                                            7   gave rise to a duty to speak and disclose material information regarding the claims
                                            8   submitted.
                                            9         195. Defendants knew, or should have known, that this scheme should have
                                           10   been disclosed to Anthem.
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                                           11         196. Defendants failed to disclose that they were submitting, or causing
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                                           12   others to submit, fraudulent claims containing material misrepresentations.
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                                           13         197. Defendants failed to disclose the aforementioned material information
                                           14   to Anthem and the BCBS Plans despite knowing that their failure to do so would
                                           15   induce Anthem and the BCBS Plans to act contrary to how they would act were
                                           16   they provided with the truth.
                                           17         198. In failing to disclose the aforementioned material information to
                                           18   Anthem and the BCBS Plans, Defendants acted in bad faith.
                                           19         199. Defendants intended for Anthem and the BCBS Plans to rely on the
                                           20   aforementioned material misrepresentations and omissions in order to induce
                                           21   Anthem to reimburse Sonoma West for the services allegedly provided by Sonoma
                                           22   West in connection with the urine drug testing claims submitted.
                                           23         200. Anthem and the BCBS Plans did not know Defendants’
                                           24   representations, or the representations caused to be made by Defendants, were false.
                                           25         201. Anthem and the BCBS Plans reasonably relied on the aforementioned
                                           26   material misrepresentations and omissions and made payment on the submitted
                                           27   claims.
                                           28         202. As a direct and proximate result of Defendants’ material

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                                            1   misrepresentations and omissions, Anthem and the BCBS Plans have been
                                            2   damaged in an amount to be determined at trial.
                                            3                                        COUNT III
                                            4                      RESTITUTION UNDER ERISA § 502(a)(3)
                                            5         203. Anthem and the BCBS Plans incorporate by reference all preceding
                                            6   paragraphs as if fully set forth herein and further alleges as follows:
                                            7         204. Anthem and the BCBS Plans has been delegated the authority to
                                            8   recover overpayments made by Anthem and the BCBS Plans on the ERISA Plans’
                                            9   behalf.
                                           10         205. Because of the wrongful behavior listed above, Anthem and the BCBS
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                                           11   Plans have paid millions of dollars in benefits to Sonoma West, and therefore, to
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                                           12   the other Defendants.
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                                           13         206. Pursuant to the ERISA Plans’ delegation of authority to Anthem and
                                           14   the BCBS Plans, Anthem and the BCBS Plans have standing to sue under ERISA §
                                           15   502(a)(3), 29 U.S.C. § 1132(a)(3), to obtain appropriate equitable relief to redress
                                           16   violations of the ERISA Plans and to enforce the terms of the ERISA Plans.
                                           17         207. As alleged above, Defendants have engaged in a scheme of submitting,
                                           18   or causing to be submitted intentionally misleading and fraudulent claims to
                                           19   Anthem for payment of benefits for charges related to laboratory services that
                                           20   Defendants represented, or caused to be represented, that Sonoma West was
                                           21   ordered to and did perform for Sonoma West patients on the orders of Sonoma
                                           22   West physicians.
                                           23         208. Anthem and the BCBS Plans relied on the claim information supplied
                                           24   by Defendants, or caused to be supplied by Defendants, in determining whether to
                                           25   pay the claims.
                                           26         209. Had Anthem and the BCBS Plans been aware that the claims
                                           27   misrepresented the services in order to make them appear payable, when in fact
                                           28   they were not, it would not have made those payments.

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                                            1         210. Based upon the fraudulent claims Defendants submitted, or caused to
                                            2   be submitted to Anthem, Defendants received amounts in excess of the amounts
                                            3   than they were actually entitled to for those services.
                                            4         211. Further, even to the extent that Defendants did not knowingly and
                                            5   intentionally submit misleading and fraudulent claims to Anthem, Anthem is
                                            6   entitled to equitable relief to enforce the terms of the ERISA Plans and recover
                                            7   overpayments made to Defendants.
                                            8         212. This is particularly true where Defendants submitted claims, or caused
                                            9   claims to be submitted, of plan members of ERISA Plans pursuant to valid
                                           10   contractual assignments (or authorized representation agreements) received from
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                                           11   ERISA Plan members. In such instances, Defendants accepted the terms of the
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                                           12   ERISA Plans and submitted claims, or caused claims to be submitted, that were
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                                           13   subject to those terms.
                                           14         213. Further, by knowingly accepting payments from the ERISA Plan,
                                           15   Defendants became bound by the ERISA Plans’ terms and conditions, including
                                           16   conditions related to overpayments.
                                           17         214. The ERISA Plans, by their terms, require the return of amounts that
                                           18   were erroneously paid.
                                           19         215. Thus, even to the extent that Defendants did not intentionally
                                           20   overcharge Anthem, Anthem is still entitled to equitable relief to enforce the terms
                                           21   of the ERISA Plans and recover these payments in full.
                                           22         216. Because of Defendants’ wrongful behavior, Anthem and the BCBS
                                           23   Plans have paid out millions of dollars in benefits to Sonoma West that were not
                                           24   due or appropriate under the terms of the ERISA Plans.
                                           25         217. Anthem and the BCBS Plans seek equitable restitution to cover the
                                           26   assets that Defendants unlawfully obtained as a result of the conduct described
                                           27   above.
                                           28         218. Specifically, Anthem and the BCBS Plans seek an Order imposing a

                                                                                        - 38 -                            COMPLAINT
                                         Case 2:18-cv-04912-SJO-GJS Document 1 Filed 06/01/18 Page 41 of 107 Page ID #:41



                                            1   constructive trust on the assets that Defendants received in the form of payments, as
                                            2   well as on any profits or income made by Defendants through the use of those
                                            3   amounts.
                                            4         219. Anthem and the BCBS Plans also seek an Order restoring the sums
                                            5   held in constructive trust by Defendants.
                                            6         220. Anthem and the BCBS Plans also seek recovery of its reasonable and
                                            7   necessary attorney’s fees and costs, pursuant to ERISA § 502(g)(1), 29 U.S.C. §
                                            8   1132(g)(1).
                                            9                                        COUNT IV
                                           10                    DECLARATORY AND INJUNCTIVE RELIEF
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                                           11              UNDER ERISA § 502(a)(3) and 28 U.S.C. §§ 2201 and 2202
            A TTORNEYS A T L AW




                                           12         221. Anthem and the BCBS Plans incorporate by reference all preceding
                          M INNEAPOLIS




                                           13   paragraphs as if fully set forth herein and further alleges as follows:
                                           14         222. Anthem and the BCBS Plans have been delegated the authority to
                                           15   recover overpayments made by Anthem on the plans’ behalf. Therefore, Anthem
                                           16   has standing to sue under ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), for
                                           17   declaratory and injunctive relief to enjoin any acts or practices that violate any
                                           18   provisions of the plans and to obtain other appropriate relief to redress such
                                           19   violations or enforce plan provisions.
                                           20         223. Defendants have engaged in a scheme to defraud Anthem and the
                                           21   BCBS Plans into paying amounts to Defendants in excess of amounts owed under
                                           22   the relevant ERISA Plans, and for services that are not covered under the relevant
                                           23   ERISA Plans’ terms, as described herein.
                                           24         224. There is an actual case and controversy between Anthem, the BCBS
                                           25   Plans, and Defendants regarding the claims Defendants has submitted and intends
                                           26   to continue to submit to Anthem and the BCBS Plans for the payment of benefits
                                           27   pursuant to the scheme described herein.
                                           28         225. Defendants’ scheme is deceptive, unfair, and unlawful.

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                                            1           226. No payments are due to Defendants on any claims that are pending or
                                            2   may be submitted in the future pursuant to Defendants’ scheme.
                                            3           227. There is a bona fide, present, and practical need for a declaration as to
                                            4   the unlawfulness of Defendants’ actions and whether Anthem has the right to deny
                                            5   the claims implicated by Defendants’ actions and scheme, including any pending or
                                            6   future claims.
                                            7           228. Anthem and the BCBS Plans are entitled to a judgment declaring that
                                            8   Defendants’ actions and business practices are unlawful, and that any claims for
                                            9   payments of benefits submitted by Defendants to Anthem pursuant to the scheme
                                           10   described herein are not payable and void.
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                                           11           229. Anthem and the BCBS Plans also seek recovery of its reasonable and
            A TTORNEYS A T L AW




                                           12   necessary attorney’s fees and costs, pursuant to ERISA § 502(g)(1), 29 U.S.C. §
                          M INNEAPOLIS




                                           13   1132(g)(1).
                                           14           230. Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202,
                                           15   Anthem and the BCBS Plans are entitled to a judgment declaring that Defendants’
                                           16   actions and business practices are unlawful, even as to the non-ERISA plans
                                           17   impacted by this fraudulent scheme, and that any claims for payment of benefits
                                           18   submitted by Defendants as a result of their fraudulent scheme are non-payable and
                                           19   void.
                                           20                                         COUNT V
                                           21           VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION LAW
                                           22           231. Anthem and the BCBS Plans incorporate by reference all preceding
                                           23   paragraphs as if fully set forth herein and further alleges as follows:
                                           24           232. California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§
                                           25   17200, et seq. (the “UCL”), prohibits, inter alia, unlawful, unfair, or fraudulent
                                           26   business acts or practices.
                                           27           233. Defendants engaged in unlawful, unfair, and/or deceptive business
                                           28   practices for the pattern of conduct alleged herein, including but not limited to:

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                                         Case 2:18-cv-04912-SJO-GJS Document 1 Filed 06/01/18 Page 43 of 107 Page ID #:43



                                            1               a.   knowingly preparing, making, or subscribing any writing, with
                                            2                    the intent to present or use it, or to allow it to be presented, in
                                            3                    support of any false or fraudulent claim, in violation of Cal.
                                            4                    Penal Code § 550(a)(5);
                                            5               b.   knowingly making or causing to be made any false or fraudulent
                                            6                    claim for payment of a health care benefit, in violation of
                                            7                    Cal. Penal Code § 550(a)(6);
                                            8               c.   presenting or causing to be presented any written or oral
                                            9                    statement as part of, or in support of, a claim for payment or for
                                           10                    other benefit pursuant to an insurance policy, knowing that the
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                                           11                    statement contains any false or misleading information
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                                           12                    concerning any material fact, in violation of Cal. Penal Code §
                          M INNEAPOLIS




                                           13                    550(b)(1);
                                           14               d.   preparing or making any written or oral statement that is
                                           15                    intended to be presented to any insurer or any insurance
                                           16                    claimant in connection with, or in support of or opposition to,
                                           17                    any claim or payment or other benefit pursuant to an insurance
                                           18                    policy, knowing that the statement contains any false or
                                           19                    misleading information concerning any material fact, in
                                           20                    violation of Cal. Penal Code § 550(b)(2);
                                           21               e.   concealing, or knowingly failing to disclose the occurrence of an
                                           22                    event that affects any person’s initial or continued right to
                                           23                    entitlement to any insurance benefit or payment, or the amount
                                           24                    of any benefit or payment to which the person is entitled, in
                                           25                    violation of Cal. Penal Code § 550(b)(3);
                                           26               f.   charging, billing, or otherwise soliciting payment for clinical
                                           27                    laboratory services not actually rendered by Sonoma West, or
                                           28                    under Sonoma West’s direct supervision, without first apprising

                                                                                      - 41 -                               COMPLAINT
                                         Case 2:18-cv-04912-SJO-GJS Document 1 Filed 06/01/18 Page 44 of 107 Page ID #:44



                                            1                      Anthem’s and the BCBS Plans’ members of the name, address,
                                            2                      and changes of the clinical laboratory performing the service, in
                                            3                      violation of Cal. Bus. & Prof. Code § 655.5(a);
                                            4                g.    charging additional amounts for clinical laboratory services that
                                            5                      were not actually rendered by Sonoma West, in violation of Cal.
                                            6                      Bus. & Prof. Code § 655.5(c);
                                            7                h.    charging amounts for clinical laboratory services that were not
                                            8                      actually rendered by Sonoma West and which exceed the
                                            9                      amount that Sonoma West was charged by the laboratory
                                           10                      performing the clinical laboratory services, in violation of Cal.
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                                           11                      Bus. & Prof. Code § 655.5(g); and
            A TTORNEYS A T L AW




                                           12                i.    unfairly and fraudulently implementing a scheme to
                          M INNEAPOLIS




                                           13                      substantially increase the reimbursement that Sonoma West and
                                           14                      other Defendants received from Anthem, by submitting
                                           15                      fraudulent claims for urine drug testing or by causing fraudulent
                                           16                      claims for urine drug testing to be submitted.
                                           17         234. As described herein, Defendants have made representations, or caused
                                           18   representations to be made that are untrue and that tend to mislead or deceive,
                                           19   including but not limited to the following misrepresentations on the claim forms
                                           20   submitted to Anthem and the BCBS Plans:
                                           21                a.    provider name (misrepresented as Sonoma West);
                                           22                b.    provider’s street address (misrepresented as Sonoma West);
                                           23                c.    provider’s NPI (misrepresented as Sonoma West);
                                           24                d.    provider’s tax identification number (misrepresented as Sonoma
                                           25                      West);
                                           26                e.    type of bill (misrepresented in some instances as “131,” which
                                           27                      represents the patient has having been an “outpatient”);
                                           28                f.    admission type (misrepresented in some instances as “2,” which

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                                            1                      indicates an urgent admission, when there was no admission);
                                            2                g.    source of admission (misrepresented in some instances as “9,”
                                            3                      which indicates information not available, when there was no
                                            4                      admission);
                                            5                h.    discharge status (misrepresented in some instances as “01,”
                                            6                      which indicates a discharge to home or self care when there was
                                            7                      no admission and, thus, no discharge);
                                            8                i.    ordering physician (misrepresented as a Sonoma West
                                            9                      physician);
                                           10                j.    attending physician (misrepresented as a Sonoma West
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                                           11                      physician); and
            A TTORNEYS A T L AW




                                           12                k.    total charge amount (misrepresented in instances where Sonoma
                          M INNEAPOLIS




                                           13                      West charged an amount higher than what it paid another lab,
                                           14                      such as Reliance Labs, to perform the actual testing, and was
                                           15                      inappropriate in light of Anthem’s laboratory fee schedule).
                                           16         235. The submission of an insurance claim to a payor constitutes a
                                           17   certification and representation that the information shown on the claim is true,
                                           18   accurate, and complete, and that the submitter did not knowingly or recklessly
                                           19   disregard or misrepresent material facts.
                                           20         236. Specifically, the UB-04 equivalent electronic form used by Sonoma
                                           21   West to submit its claims to Anthem includes the following language:
                                           22                a.    “THE SUBMITTER OF THIS FORM UNDERSTANDS THAT
                                           23                      MISREPRESENTATION OR FALSIFICATION OF
                                           24                      ESSENTIAL INFORMATION AS REQUESTED BY THIS
                                           25                      FORM, MAY SERVE AS THE BASIS FOR CIVIL
                                           26                      MONETARY PENALTIES AND ASSESSMENTS AND MAY
                                           27                      UPON CONVICTION INCLUDE FINES AND/OR
                                           28                      IMPRISONMENT UNDER FEDERAL AND/OR STATE

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                                         Case 2:18-cv-04912-SJO-GJS Document 1 Filed 06/01/18 Page 46 of 107 Page ID #:46



                                            1                       LAW(S).” (Emphasis in original.)
                                            2                b.     “Submission of this claim constitutes certification that the
                                            3                       billing information as shown on the face hereof is true, accurate
                                            4                       and complete. That the submitter did not knowingly or
                                            5                       recklessly disregard or misrepresent or conceal material facts.”
                                            6         237. Anthem, and other members of the public, including but not limited to
                                            7   Anthem’s members who received services from Defendants, were likely to be
                                            8   deceived.
                                            9         238. Defendants’ actions offend public policy and are immoral, unethical,
                                           10   oppressive, unscrupulous, and are substantially injurious to customers, including
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                                           11   Anthem and its members.
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                                           12         239. Anthem and the BCBS Plans have suffered an injury-in-fact and has
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                                           13   lost money because of Defendants’ unfair and deceptive business practices.
                                           14         240. Anthem and the BCBS Plans have been substantially damaged by
                                           15   Defendants’ unfair and deceptive business practices in an amount to be determined
                                           16   at trial, as well as the specific, preventive, and injunctive relief to which Anthem
                                           17   and the BCBS Plans are entitled under the UCL.
                                           18                                        COUNT VI
                                           19                         TORTIOUS INTERFERENCE WITH
                                           20                 ANTHEM’S CONTRACTS WITH ITS MEMBERS
                                           21         241.    Anthem and the BCBS Plans incorporate by reference all preceding
                                           22   paragraphs as if fully set forth herein and further alleges as follows:
                                           23         242. Each of the members for whom Defendants submitted claims, or
                                           24   caused claims to be submitted, received healthcare benefits pursuant to a benefit
                                           25   plan offered and/or administered by Anthem and the BCBS Plans.
                                           26         243. The terms of the members’ benefit plans were set forth in individual
                                           27   medical contracts between the members and Anthem and the BCBS Plans.
                                           28         244. These contracts contained provisions that required members to satisfy

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                                            1   certain obligations, including their cost-sharing responsibilities (e.g., copayments,
                                            2   coinsurance, and/or deductibles) by making payments to providers.
                                            3         245. Defendants knew or reasonably should have known that the members’
                                            4   plans required the members to satisfy their payment responsibilities.
                                            5         246. Despite this knowledge, Defendants intentionally procured the breach
                                            6   of members’ contracts by waiving the members’ cost-sharing responsibilities.
                                            7         247. Defendants’ procurement of these breaches was without justification
                                            8   or privilege.
                                            9         248. Had Defendants collected, or caused to be collected, the Anthem
                                           10   member’s cost-sharing responsibilities, those members likely would have alerted
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                                           11   Anthem and the BCBS Plans to Defendants’ improper and unlawful conduct
            A TTORNEYS A T L AW




                                           12   because of the substantial amount of money that they would have owed.
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                                           13         249. The breaches Defendants procured have resulted in significant
                                           14   damages to Anthem and the BCBS Plans in the form of unnecessary payments
                                           15   Anthem made to Sonoma West, and therefore other Defendants, subsequent to
                                           16   those breaches.
                                           17         250. Anthem and the BCBS Plans are entitled to an award of compensatory
                                           18   damages, including consequential damages, together with interest and costs, an
                                           19   injunction prohibiting Defendants from continuing to engage in the tortious conduct
                                           20   described above, and any other relief the Court deems just and proper.
                                           21                                        COUNT VII
                                           22                   AIDING AND ABETTING TORTIOUS CONDUCT
                                           23         251. Anthem and the BCBS Plans incorporate by reference all preceding
                                           24   paragraphs as if fully set forth herein and further alleges as follows:
                                           25         252. Defendants and others known and unknown committed torts against
                                           26   Anthem and the BCBS Plans by fraudulently and negligently misrepresenting their
                                           27   practices and claims for reimbursement, and by interfering with Anthem and the
                                           28   BCBS Plans’ contracts with their members.

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                                            1         253. Defendants formed an agreement with each other and other co-
                                            2   conspirators to commit the unlawful acts described in this Complaint.
                                            3         254. Defendants and other co-conspirators committed wrongful acts in
                                            4   furtherance of their common scheme.
                                            5         255. Defendants knew that their co-conspirators’ conduct constituted a
                                            6   breach of duty.
                                            7         256. Defendants gave substantial assistance or encouragement to the co-
                                            8   conspirators to breach such duties.
                                            9         257. Defendants’ wrongful acts were a substantial factor in causing harm to
                                           10   Anthem and the BCBS Plans.
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                                           11         258. Anthem and the BCBS Plans have been injured by the wrongful
            A TTORNEYS A T L AW




                                           12   scheme in a significant amount to be determined at trial.
                          M INNEAPOLIS




                                           13                                         COUNT VIII
                                           14                            MONEY HAD AND RECEIVED
                                           15         259. Anthem and the BCBS Plans incorporate by reference all preceding
                                           16   paragraphs as if fully set forth herein and further alleges as follows:
                                           17         260. Defendants have received monies from Anthem and the BCBS Plans
                                           18   that they should not have received and to which Defendants are not entitled.
                                           19         261. Specifically, Defendants received reimbursements from Anthem and
                                           20   the BCBS Plans for claims that they submitted that should not have been paid.
                                           21         262. Anthem and the BCBS Plans paid these reimbursements on belief that
                                           22   the claims submitted by Defendants were appropriate for reimbursement when, in
                                           23   fact, they were not.
                                           24         263. The monies paid have not been used for the benefit of Anthem or the
                                           25   BCBS Plans or their members.
                                           26         264. Similarly, Defendants have not returned the monies to Anthem or the
                                           27   BCBS Plans.
                                           28         265. Accordingly, Anthem and the BCBS Plans are entitled to the return of

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                                         Case 2:18-cv-04912-SJO-GJS Document 1 Filed 06/01/18 Page 49 of 107 Page ID #:49



                                            1   these monies returned in an amount to be determined at trial.
                                            2                                        COUNT IX
                                            3                                UNJUST ENRICHMENT
                                            4          266. Anthem and the BCBS Plans incorporate by reference all preceding
                                            5   paragraphs as if fully set forth herein and further alleges as follows:
                                            6          267. Defendants fraudulently used the name and billing information of
                                            7   Sonoma West to submit, or cause the submission of, claims to Anthem and the
                                            8   BCBS Plans for services that were not performed at or by Sonoma West, or ordered
                                            9   by Sonoma West physicians, or on behalf of Sonoma West patients, whose name
                                           10   and billing information appeared on the claims Defendants submitted, or caused to
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                                           11   be submitted, to Anthem and the BCBS Plans. Sonoma West had no reason to be
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                                           12   involved in the testing or billing of the claims submitted but for the substantially
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                                           13   higher reimbursement rates it would seek from insurers, including Anthem. This
                                           14   was especially true in light of the prepayment review Anthem had instituted with
                                           15   respect to claims submitted by Reliance Labs.
                                           16          268. Anthem, relying on Defendants’ representations that the services being
                                           17   billed for using Sonoma West’s name and billing information were performed at
                                           18   and by Sonoma West and on behalf of Sonoma West patients as ordered by Sonoma
                                           19   West physicians, issued payment to Sonoma West who then distributed those
                                           20   payments to Defendants.
                                           21          269. Defendants have wrongfully obtained payments issued by Anthem and
                                           22   the BCBS Plans to Sonoma West.
                                           23          270. Defendants have unjustly retained those benefits.
                                           24          271. Defendants should be required to make restitution for the benefits they
                                           25   received, retained, and appropriated because justice and equity require such
                                           26   restitution.
                                           27          272. Restitution is required by public policy to promote the stability of
                                           28   insurance markets and to avoid the continuing unjust enrichment of unscrupulous

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                                            1   providers at the expense of insurance companies and patients.
                                            2         273. Anthem and the BCBS Plans are entitled to restitution in an amount to
                                            3   be determined at trial, including but not limited to all amounts Defendants received
                                            4   from Anthem and the BCBS Plans because of Defendants’ pass-through scheme.
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                                            1                               PRAYER FOR RELIEF
                                            2                WHEREFORE, Plaintiffs respectfully requests an award in its favor
                                            3   and granting the following relief:
                                            4                a.    An award of actual and consequential damages in an amount to
                                            5         be determined at trial, plus interest;
                                            6                b.    An order obligating Defendants to disgorge all revenues and
                                            7         profits derived from their scheme;
                                            8                c.    An injunction prohibiting Defendants from continuing their
                                            9         scheme;
                                           10                d.    An award of Plaintiffs’ costs, including reasonable attorneys’
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                                           11         fees, in accordance with 29 U.S.C. § 1132(g)(1);
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                                           12                e.    An award of punitive damages;
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                                           13                f.    Equitable relief as requested herein;
                                           14                g.    Formation of a constructive trust; and
                                           15                h.    Any other relief deemed just, proper, and/or equitable.
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                                           17
                                                                         DEMAND FOR JURY TRIAL
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                                                      Plaintiffs hereby demand a trial by jury.
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                                            1   DATED: June 1, 2018                ROBINS KAPLAN LLP
                                            2
                                                                                   By: /s/ David Martinez
                                            3
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                                                                                   T: (310) 552-0130
                                            7
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                                                                                   dmartinez@robinskaplan.com
                                            9
                                           10                                      Jeffrey S. Gleason (pro hac vice to be filed)
                                                                                   Jamie R. Kurtz (pro hac vice to be filed)
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                                           11
                                                                                   Nathaniel J. Moore (Cal. Bar # 277206)
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                                           12                                      Luke A. Hasskamp (Cal. Bar # 280872)
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                                           19                                      Counsel for Blue Cross of California
                                                                                   d/b/a Anthem Blue Cross, et al.
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                        EXHIBIT A
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                                                                      SO·NOMA WEST
                                                                      MEDIC.All C.E!NrlEJJl
                                      NOTICE AND AGENDA
                                             JOINT
                               PALM DRIVE HEALTH CARE DISTRICT
                        BOARD OF DIRECTORS AND GOVERNING BODY MEETING
                                       SPECIAL MEETING

                                                    June 22, 2017
                                                      4:30 p.m.
                                                    Open Session

                                             Sonoma West Medical Center
                                                  Conference Room
                                                501 Petaluma Avenue
                                                Sebastopol, CA 954 72
                                                   (707) 823-3586

        Our Vision: Through engagement with our diverse West County population the district will promote
        improved health and well being.

        Our Mission: Palm Drive Health Care District exists to deliver access to quality and compassionate
        health services responsive to the needs of our District.

    J   Our Values:    Integrity-Leadership-Caring- Perseverance

                                   PLEASE TURN YOUR CELL PHONES OFF

CALL TO ORDER BY CHAIRMAN COLTHURST

ROLL CALL

APPROVAL OF AGENDA                                                                     Chair Colthurst

PUBLIC COMMENTS

        The chair will accept comments from the audience on any items not listed on the agenda. Questions may
        be referred to stqfffor response at a later time. Please limit your comments to 3 minutes.

DISCUSSON AND ACTION ITEMS

                   1. Discussion, consideration and possible Action on a       (Action)(B.Arnone/D.Colthurst)
                      Management Contract with Durall Capital
                      Holdings and Sonoma West Medical Center.

                  2. Discussion, consideration and possible Action on a        (Action)(B.Arnone/D.Colthurst)
                     Laborat01y Contract with Durall Capital Holdings and




                                              Exhibit A, Page 51
                                                                                                                J
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                                 Sonoma West Medical Center.




           ADJOURNMENT



                                                              Palm Drive Health Care District
Members of the public have the right to speak on any item on the published agenda. If you wish to speak about a matter not on the published agenda, please
make your comments during the portion of the meeting designated for Public Comments. Please limit your remarks to three minutes. Please note that, with
some exceptions, the District Board does not engage in discussion or take action on non-agenized matters. However, the board may respond briefly to public
comments, refer matters to staff; ask questions for clarification, or schedule matters for future agenda. Materials related to open session items on this agenda
that are submitted to the Board or committee after distribution of the agenda packet are available for public inspection during normal business hours at 612
Petaluma Avenue, Sebastopol, CA.

Consent Items:
The Board agenda may include items on a consent calendar. Consent calendar items are routine matters or matters which have been reviewed by the board
previously. These items may be approved by one motion without discussion unless a board member requests that the item be taken off the consent calendar.
Items removed from the consent calendar will be taken up upon completion of action on the remainder of the items on the consent calendar.

American Disability Act (ADA)
The Sonoma West Medical Center complies with ADA (American Disabilities Act) requirements and upon request, will attempt to reasonably accommodate
individuals with disabilities by making meeting material available in appropriate alternative formats (pursuant to Government Code Section 54953.2).
Anyone requiring reasonable accommodation to participate in the meeting should contact Janet Harris, Executive Assistant at (707) 823-3586.




                                                                  Exhibit A, Page 52                                                                               2-
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  SUMMARY OF AGREEMENTS BETWEEN SWMC & DURALL CPAIT!AL HOLDINGS LLC
   To PERFORM TOXICOLOGY TESTING FOR INDIVIDUALS IN DRUG REHABILITATION


GENERAL

All agreements have been prepared and reviewed by Lori Ferguson, a HansonBridgett health care
attorney and with consultation with Allan Jergesen, a HB nonprofit attorney to assure that all
agreements comply with federal, California, and nonprofit law and regulations.


BUSINESS ASSOCIATES AGREEMENT

Agreement between SWMC and Durall Capital Holdings LLC to abide by HIPPA and Clinical Health Act of 2009.

LABORATORY MANAGEMENT SERVICES AGREEMENT

SWMC will perform initial toxicology testing from samples sent by Durall Capital Holdings LLC from
individuals in drug rehab. The Tests will be performed on new equipment (cost approximately
$100,000) to be purchased by Durall Capital Holdings LLC and to be invoiced and paid for by SWMC
after six months of performing toxicology testing. In addition, the reagent cost, personnel expense and
overhead will be paid for by SWMC.

Durall Capital Holdings LLC will be paid $150,000 per month for managing the toxicology laboratory.

The volume of testing per Aaron Durall will be 10,000 to 15,000 tests [should be panels per WJA] per
month.

The expected reimbursement is estimated to be $35.00 per test in a panel. The number of tests in a
panel can be from3 to 25 .. The average tests per panel is expected to be 10 (additional data is being
gathered). SWMC will bill for the initial panel of testing and collect for the initial panel of testing.

It is expected that twenty percent of the panels will not be reimbursed because SWMC will be out of
the insurance company's network. The additional expected collections is than estimated to be
$2,800,000 per month.

The charge capture and billing will be done by Durall Capital Holdings LLC under the Hospital's license,
CLIAlicense, and insurance contracts. Reimbursement will come to SWMC.

Cost of reagents, cost of personnel and overhead is estimated (further research into total cost is being
done) to be $773,000 per month. This would put the outflow of funds at an estimated $923,000 per
month.




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LABORATORY SERVIE AGREEMENT FOR CONFIRMATION TESTING


SWMC will perform the initial panel of test that will determine one or more broad category of drugs
but not a specific drug. Confirmation testing is done after one or more drugs are indicated to
determine a specific drug or drugs. We are told that individuals in rehabilitation are usually on more
than one drug.

Once SWMC's general toxicology testing indicates one or more drugs, SWMC will send the specimen to
Durall Capital Holdings LLC,as a reference laboratory,for Confirmation testing. The number of
confirmation tests performed will depend upon the number of general category of drugs indicated. It
is estimated that 3.5 confirmation tests will be performed per specimen (additional information is
being obtained to confirm numbers}.

SWMC will bill for the reference laboratory testing under the Hospital's license, CUA license, and
insurance contracts. The billing will be done by Durall Capital Holdings LLC. Reimbursement will come
to SWMC. [This is in addition to, not part of, the billing and reimbursement under the Laboratory
Management Services Agreement per WJA]

SWMC will pay Durall Capital Holdings LLC $200 per test but no more than actual reimbursement less
$15. The $15 is to account for the lab management fee ($150,000 per month divided by 10,000 tests
per month}.

Legal venue will be California and California law except for payments due Durall Capital Holdings LLC
which action will be brought in and under Florida law.

MANAGEMENT SERVICE AGREEMENT


This agreement is similar to the Pipeline Agreement for managing the Hospital. Durall Capital Holdings
                                                                           a
LLC owns and manages two rural hospitals and is in the process .of buying· third hospital.

Durall Capital Holdings LLC will manage all aspects of the hospital operations and abide by all aspects
of the MSSA and Governing Body. The CEO and CFO will be Durall Capital Holdings LLC employees.
Durall Capital Holdings will bring in the necessary personnel to right areas of the operations that are
not performing at the highest levels possible at no additional cost except the management fee.

The management for the first six months will be $80,000 (calculated based on a $50,000 management
and $30,000 to cover DCH's personnel} per month. The next six months the management fee will be
$70,000 per month ($50,000 management fee and $20,000 to cover CEO and CFO expense). The
management fee will be adjusted annually (12 months from the initiation of the contract) by the US
annual inflation rate.




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An additional annual fee may be paid in the amount of $200,000 when the Hospital has working cash
liquidity in the amount of $2,000,000 plus the Hospital must be fully current on all accounts payable
obligations.

LOAN AGREEMENT


The contributions of $2,100,000 made thus far will need to be converted to a loan. The purpose is to
comply with federal anti-kickback laws and nonprofit laws. Otherwise, the contributions will be viewed
as a payment to get a very lucrative contract unless formalized in a requirement to pay Capital
Holdings LLC back.

The loan structure will be for payments to begin when SWMC has $2,000,000 and Durall Capital
Holdings management fee in cash working capital.




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                               MANAGEMENT SERVICES AGREEMENT

             THIS MANAGEMENT SERVICES AGREEMENT (this "Agreement") is entered into to be
     effective as of the Effective Date by and between Sonoma West Medical Center, a California
     nonprofit public benefit corporation ("SWMC"), and Durall Capital Holdings, LLC, a Florida
     limited liability company ("Manager"). SWMC and Manager are sometimes referred to herein
     individually as a "Party" or collectively as the "Parties."

                                               RECITALS

             WHEREAS, pursuant to the terms of a Management and Staffing Services Agreement
    dated March 18, 2015 (the "MSSA"), SWMC operates a general acute care hospital in
    Sebastopol, California (the "Hospital") that is owned by Palm Drive Health Care District (the
    "District"); and

           WHEREAS, in accordance with the MSSA and the Bylaws of the District, a
    subcommittee of the District's Board of Directors was established to serve as the governing
    body of the Hospital (the "Governing Body"); and

           WHEREAS, Manager's principals and staff have demonstrated expertise in managing
    and improving the performance of hospitals; and

            WHEREAS, SWMC desires to retain Manager to provide services required of SWMC
    under the MSSA to administer, supervise, and manage the Hospital, and Manager desires to
    provide those services in the manner required by the MSSA on behalf of SWMC commencing
    on            _, 2017, or as soon thereafter as the conditions set forth in Section 13.2 are
    satisfied (the "Effective Date") on the terms and conditions set forth hereinafter; and

          WHEREAS, certain capitalized terms have the meanings ascribed to them as set forth
    above or in Section 17 below.

                                             AGREEMENT

           NOW, THEREFORE, in consideration of the foregoing and the mutual agreements,
    covenants and promises hereinafter set forth in this Agreement, and for other good and valuable
    consideration, the receipt and sufficiency of which are hereby acknowledged, and intending to
    be legally bound, the Parties hereto agree as follows:

           1.      Control of Hospital Operations

            Notwithstanding anything set forth below to the contrary, the Governing Body shall
    possess ultimate authority and control over the operations of, and shall be responsible for the
    approval of policies with respect to, the Hospital (not inconsistent with the Strategic Plan and
    Budget as defined below). SWMC will ensure that the Governing Body exercises all functions
    that by Applicable Laws, payer/program agreements, Conditions of Participation, long-term debt
    covenants or accreditation standards must be exercised by such Governing Body.
    Notwithstanding the authority granted to Manager herein, Manager and SWMC agree that the
    Governing Body shall at all times exercise ultimate control over the Hospital and shall approve
    general operating policies to be carried out by Manager pursuant to the MSSA and this
    Agreement. SWMC agrees that the Governing Body shall delegate sufficient authority to
    Manager (subject to ultimate oversight by the District Board of Directors) to enable Manager


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    effectively to perform its functions hereunder. By entering into this Agreement, SWMC does not,
    and shall not in the future, delegate to Manager any of the powers, duties, and responsibilities
    vested in the Governing Body by law, SWMC's governing documents (including the SWMC
    Bylaws), or as otherwise set forth in this Section 1.

            2.      Retention of Manager: Additional Management Services.

                    2.1    Retention of Manager; Exclusivity. Subject to the terms and conditions of
    this Agreement, as of the Effective Date, SWMC hereby retains and appoints Manager to
    manage the Hospital on behalf of SWMC in accordance with, and subject to, the terms of the
    MSSA, a copy of which is attached hereto and incorporated herein by this reference. During the
    Term of this Agreement (as defined below in Section 13), Manager shall be the exclusive
    provider to the Hospital of such services as are described in Section 4 (the "Management
    Services"), which is consistent with the authority granted to SWMC by the MSSA and under the
    SWMC Bylaws.

                     2.2    Approval of Agreement. SWMC hereby represents and affirms that the
    Board of Directors of SWMC authorized or otherwise approved the decision to enter into this
    Agreement between the Parties and that all approvals required from the Governing Body and
    the District have been, or will be, obtained prior to the Effective Date. Manager accepts such
    appointment and agrees to manage the Hospital in accordance with the terms of the MSSA, and
    in a commercially reasonable manner. Manager further agrees to devote sufficient time and
    efforts thereto in accordance with the terms and conditions set forth this Agreement. Manager
    acknowledges that the Governing Body and the District Board of Directors are subject to the
    Brown Act and other open government laws applicable to California public entities. Manager will
    cooperate and work with SWMC and the Governing Body to maintain compliance with such
    laws.

           3.      Strategic Plan and Budget.

                    3.1      Strategic Plan and Budget. Manager shall collaborate with the Governing
    Body to develop an annual plan setting forth certain details regarding the strategic, operational
    and capital activities that Manager shall undertake and oversee on behalf of SWMC with respect
    to the Hospital and the budgets regarding such activities (as amended from time to time, the
    "Strategic Plan.and Budget"'), which shall include, but not be limited to, the following:

                           (a)     performance improvement initiatives, business development
    objectives, cost reduction plans, synergistic opportunities and efficiency improvements;

                           (b)    strategic, programmatic, and service line initiatives (including their
    operating and capital requirements) for the Hospital;

                        (c)     an annual operating budget setting forth an estimate of operating
    revenues and expenses for the following year;

                           (d)    an annual capital expenditures budget outlining a program of
    capital expenditures for the next fiscal year; and

                        (e)      an annual projection of cash receipts and disbursements based
    upon the proposed capital expenditures and operating budgets, which projection shall contain
    recommendations concerning use of excess cash flow, if any, and


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                          (f)    such longer term financial projections for operations of the
     Hospital as the Governing Body may reasonably request.

                    3.2     Modifications. The Parties shall consult with each other on an ongoing
    basis throughout the Term to identify and agree upon any proposed modifications to the
    Strategic Plan and Budget required to enhance the quality and economic viability of the Hospital
    while continuing to further the District's missions, including, but not limited to, those which
    include charitable, educational and community health missions. Manager shall be responsible
    for developing proposed additions, modifications and improvements to the Strategic Plan and
    Budget and shall propose such changes to the Governing Body from time to time but no less
    than annually in accordance with Section 5.3. SWMC, and the Governing Body, shall promptly
    review all proposed modifications or additions to the Strategic Plan and Budget and the written
    consent of the Governing Body and the District (or their designees specified in writing) shall be
    required for any change to the Strategic Plan and Budget. In the event proposed revisions to the
    Strategic Plan and Budget are not approved, the most recently approved Strategic Plan and
    Budget shall continue in full force and effect until further modified or until this Agreement expires
    or is otherwise terminated.

                    3.3    Expenses. SWMC shall remain solely and exclusively responsible for any
    and all costs of operations as it relates to SWMC and the Hospital, whether or not revenues
    generated from the operations of the Hospital are sufficient to support the expenditures
    contemplated by the Strategic Plan and Budget.

           4.      Management Services

                    4.1    Management Services. Manager shall use commercially reasonable
    efforts to oversee the efficient and orderly operation of the Hospital and shall provide the
    following services in accordance with the terms of this Agreement and the MSSA, or if not
    therein specified then at least at the minimum level of prevailing industry practices (the
    "Management Services"), specifically including the following (compensation for which, unless
    otherwise specifically set forth herein, shall be included within the Management Fee payable to
    Manager described in Section 11 hereof). In the event of a conflict between the terms of the
    MSSA and the terms of this Agreement, the terms of the MSSA shall prevail.

                   4.2    Staffing.

                            (a)    During the Term, and subject to approval by the Governing Body
    and the District Board, Manager shall provide, through contract or otherwise, at its sole
    expense, at a minimum, a Chief Executive Officer/Administrator and Chief Financial
    Officer/Controller on behalf of SWMC (the "Senior Executives"). Each of the senior executives
    will provide no less than 40 hours each week (an average of 160 hours/month) of onsite time
    (subject to reasonable vacation time and other pre-existing obligations).The Senior Executives
    shall provide executive management services to SWMC and shall be subject to and comply with
    all SWMC policies, requirements and duties applicable to such respective positions, subject to
    advance written notice to the Senior Executives. Subject to prior approval by the Governing
    Body and the District Board, Senior Executives may be replaced by competent individuals from
    time to time as deemed appropriate by Manager in its reasonable discretion. In addition,
    Manager's principals, advisors, and other personnel (the "Senior Advisors") shall be available to
    provide management support, consult with SWMC personnel, visit and perform periodic reviews
    and evaluations of the Hospital, and generally advise SWMC, the Governing Body and the
    District Board regarding the operations and business of the Hospital in order to ensure effective


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    management thereof. The Parties acknowledge and agree that the composition of such advisory
    services by Senior Advisors at any given time may vary depending on the needs of SWMC or
    the Hospital as determined by Manager in its reasonable discretion and/or at SWMC's
    reasonable request and Manager's agreement thereto, which agreement shall not be
    unreasonably conditioned, withheld or delayed.

                          (b)    Subject to the Strategic Plan and Budget, and applicable State
    and Federal laws, Manager shall determine necessary and appropriate staffing levels for the
    Hospital, and Manager shall oversee and administer the recruitment and hiring in the name of
    and on behalf of SWMC of nurses, technicians, administrative, and other staff as are
    determined to be necessary or appropriate for the operation of the Hospital. Manager shall
    oversee and administer all payroll functions for the Hospital, including, but not limited to, payroll
    payments, appropriate payroll withholding, and general payroll accounting and payment of all
    payroll taxes and employee benefit cost for which the Hospital is responsible.

                          (c)     All personnel required to be employed directly by SWMC under
    the MSSA and Applicable Laws shall be employees or contractors of SWMC ("SWMC
    Personnel") and not Manager, and shall be subject to SWMC's personnel policies. All wages,
    benefits and other payroll expenses related to SWMC Personnel shall be the sole responsibility
    of SWMC. For the avoidance of doubt, the term SWMC Personnel does not include any Senior
    Executives, Senior Advisors or personnel of Manager provided by Manager under this
    Agreement.

                           (d)     Manager shall administer and oversee the enforcement of
    personnel policies established in accordance with SWMC's contractual obligations, employment
    policies and the Strategic Plan and Budget in connection with hiring, managing, and discharging
    SWMC Personnel.

                           (e)    Manager, as the authorized agent of SWMC, shall (i) recommend
    the appropriate number and qualifications of SWMC Personnel required for the efficient and
    effective operations of the Hospital, and, (ii) in accordance with the Strategic Plan and Budget,
    implement wage scales, employee benefit packages, in-service training programs, staffing
    schedules, and job descriptions for SWMC Personnel, all in order to accomplish the policies
    established by SWMC.

                    4.3     Training. Manager shall be responsible for educational training programs
    for SWMC Personnel designed to improve inpatient and outpatient care, case management,
    clinical documentation, including use of electronic medical records and related systems,
    departmental operations, and such other matters as Manager may determine from time to time
    to be beneficial to the efficient operation of the Hospital.

                 4.4    Contracts. Manager shall assist the Senior Executives in negotiating and
    consummating agreements and contracts for and on behalf of the Hospital in the name of
    SWMC in the usual and ordinary course of business, all in accordance with the Strategic Plan
    and Budget.

                    4.5    Laws: Accreditations. As appropriate, Manager shall provide assistance in
    obtaining and maintaining all licenses, permits, approvals and certificates of accreditation
    required for the operation of the Hospital and pursuant to Applicable Laws.




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                    4.6      Medical Records. Manager shall administer and oversee systems for the
     timely, accurate and efficient creation, filing, security, sharing among care givers and other
     lawful persons, and retrieval at the Hospital, of all medical records, charts, and files, all in
     accordance with applicable law, the requirements of payors (contractual or otherwise), the
     needs of effective risk management and compliance systems, and other best practices.

                   4.7     HIPAA and Business Associate Agreement. The Parties hereby
    acknowledge and agree to enter into and comply with the Business Associate Agreement
    attached hereto as Exhibit A, to evidence their compliance with privacy standards adopted by
    the U.S. Department of Health and Human Services as they may be amended from time to time,
    45 C.F.R. Parts 160 and 164, subparts A, D and E, the security standards adopted by the U.S.
    Department of Health and Human Services as they may be amended from time to time, 45
    C.F.R. Parts 160,162 and 164, subpart C, and the requirements of Title XIII, Subtitle D of the
    Health Information Technology for Economic and Clinical Health (HITECH) Act provisions of the
    American Recovery and Reinvestment Act of 2009, 42 U.S.C. §§ 17921-17954, and all its
    implementing regulations, when and as each is effective and compliance is required, as well as
    any applicable state confidentiality laws.

                    4.8     Support Services. Manager shall administer and oversee customary
    support services for the Hospital, including, but not limited to, housekeeping, maintenance
    (including repair and maintenance of the interior and exterior of the Hospital' buildings, and
    grounds), janitorial, security and food services.

                    4.9    Information Technology Systems and Records. The parties acknowledge
    that, under section 2.2(e) of the MSSA, EHR!, Inc. donated a cloud based electronic medical
    record software system known as Harmoni MD to SWMC for use at the Hospital. Subject to the
    rights and obligations undertaken pursuant to that donation, Manager shall administer and
    oversee the maintenance and operation of accounting, auditing, budgeting, reimbursement,
    revenue cycle, payor reporting and reconciliation, electronic health record, computerized
    physician order entry, and other clinical service records and other information technology
    systems required for the efficient management of the Hospital, including compliance with payor
    program requirements and/or contractual obligations. Manager shall administer and oversee the
    preparation and maintenance of all books and records regarding operations and financial
    transactions pertaining to the Hospital and shall ensure copies of such books and records are
    made available to the Governing Body or its designee upon reasonable request.

                  4.10 Establishment of Operational Policies. Manager shall develop and
    recommend to SWMC policies, procedures, and standards of operation, maintenance, pricing,
    and other matters affecting the Hospital and the operation thereof, consistent with the Strategic
    Plan and Budget.

                    4.11    Acquisition of Property. Manager shall be responsible for the oversight of
    acquisition of all personal property, equipment, supplies, and inventory as may be necessary to
    operate the Hospital in accordance with (i) the MSSA and this Agreement; (ii) the Strategic Plan
    and Budget; (iii) Applicable Laws; and (iv) applicable standards and guidelines on accreditation
    promulgated by the applicable Accreditation Organization. Manager shall have the right to utilize
    such personal property, equipment, supplies, and inventory at the Hospital as Manager
    reasonably deems necessary and appropriate to fulfill its obligations hereunder.

                   4.12 Public Relations. Manager shall implement such advertising, marketing
    and other activities as Manager deems appropriate for the efficient operation of the Hospital.


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     Subject to the foregoing, from time to time, Manager shall engage in marketing and public
     relations activities consistent with Applicable Laws and designed to enhance the Hospital's
     image and reputation and to secure and maintain patients at the Hospital.

                   4.13 Community Support. Manager shall assist SWMC and the District in
    enhancing the Hospital's community service mission and engagement in community activities
    that educate, inspire, and improve the quality of life and overall health outcomes of the patient
    populations served by the Hospital. Manager shall propose and implement, after proper
    approvals, increases in services to support the needs of the community and greater Bay Area.

                    4.14 Liability Insurance. Manager shall obtain and/or maintain in effect, on
    behalf of and at the sole expense of SWMC, throughout the Term of this Agreement, such
    policies (or programs) of property/casualty coverage, public liability, professional liability and
    hazard insurance and other customary insurance coverages in commercially reasonable
    amounts for and on behalf of the Hospital and consistent with the Strategic Plan and Budget or,
    in the absence of such specifications, as Manager considers reasonable based upon criteria
    generally used by Manager. Manager and the Senior Executives shall be covered under
    SWMC's Directors' and Officers' liability, Errors and Omissions liability, professional liability and
    other insurance policies, and the Senior Executives shall be insured under any such policies to
    the same extent as SWMC's other officers and directors. Throughout the Term, Manager shall
    maintain its own policies of Directors' and Officers' liability, Errors and Omissions liability,
    professional liability and other insurance policies covering their respective operations, officers,
    directors, employees and agents, as is customary in the hospital management industry, all with
    commercially reasonable amounts and terms. Professional liability insurance shall have
    minimum limits of liability of one million dollars ($1,000,000) per occurrence and three million
    dollars ($3,000,000) in the aggregate.

                     4.15 Revenue Cycle. Manager shall administer and oversee the development
    of appropriate and reimbursable charges and systems for and monitoring of appropriate charge
    capture, billing for services rendered by the Hospital and the collection of all accounts due to the
    Hospital in accordance with lawful charge master and collection policies developed by Manager
    pursuant to the Strategic Plan and Budget, as well as any and all applicable third-party payor
    program or written agreement. Manager shall be entitled to obtain, on behalf, and at the
    expense, of SWMC the assistance of one or more collection agencies who shall be required to
    act in accordance with Applicable Laws and generally recognized practices for hospitals (such
    as the AHA Guidelines). Manager shall exercise commercially reasonable care in managing
    these accounts. Manager will hold in trust available cash for the benefit of SWMC in accordance
    with the Strategic Plan and Budget, shall maintain accounts and/or certificates of deposit with a
    financial institution or institutions designated by SWMC, and shall report monthly financials to
    the Governing Body. Financials shall include an income statement, balance sheet, cash flow
    statement, AP reports, bench marking reports, AR reports, utilization statistics, departmental
    reports, productivity statistics and inpatient/outpatient insurance utilization, and other reports
    that may be reasonably requested from time to time.

                    4.16 Bank Accounts. SWMC shall maintain bank accounts (the "SWMC
    Accounts") necessary for operations of the Hospital, and Manager shall cause to be deposited
    therein all receipts and money arising from operations of the Hospital. It is anticipated that the
    Senior Executives, and such other individuals as are approved by the SWMC Board from time
    to time, shall have the right to authorize disbursements from SWMC Accounts on behalf of
    SWMC in such amounts and at such times as the same are required and with proper internal
    controls and accounting practices as addressed further below.


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                    4.17 Payment of Expenses. Except as otherwise specifically provided in this
    Agreement, the MSSA, and subject to the standard policies of SWMC, Manager shall timely and
    accurately pay on behalf of SWMC, from funds generated by the Hospital in the SWMC
    Accounts, subject to cash availability, where and as due, and without delinquency or default, an
    proper debts, liabilities, costs, and expenses ("Expenses") related to the ownership,
    management and operation of the Hospital, including any taxes and all bills for goods delivered
    or services rendered to the Hospital and all personal property, supplies; inventory and all other
    items necessary for operation of the Hospital and to provide the Management Services
    described herein. Manager shall contest by appropriate and legal means (but may not bring any
    lawsuit without complying with such guidelines and policies as are established from time to time
    by the Governing Body) on behalf of SWMC, any claims for payment asserted against the
    Hospital that Manager, in good faith, considers erroneous or improper.

                    4.18 Agency. Within the scope of functions delegated to Manager hereunder,
    Applicable Laws and subject to other conditions set forth herein, Manager shall have the right to
    act and shall assist SWMC as the agent and attorney-in-fact of SWMC in the procuring of
    licenses, permits and other approvals, the payment and collection of accounts, and in all other
    activities necessary, appropriate, or useful to Manager in the carrying out of its duties as
    specified in the preceding paragraphs of this Section 4.

                  4.19 Corporate-Based Consulting Services. Manager shall provide
    corporate-based consulting services to SWMC upon request ..

                   4.20 Compliance with Law and Professional Standards. In performing its
    services hereunder, and in all conduct related to this Agreement, Manager will comply with all
    Applicable Laws and with generally recognized professional standards for similar services within
    the hospital management industry.

            5.     Reports to SWMC. For the purpose of keeping informed with respect to the
    operation of the Hospital and Manager's performance hereunder, Manager shall arrange for the
    preparation and delivery to the Governing Body or its designee the following:

                   5.1   Viability Assessment. Within one hundred twenty ( 120) days following the
    Effective Date, Manager will provide to the Governing Body and the SWMC Board Manager's
    assessment of the Hospital's continued viability.

                  5.2    Financial Statements. Within thirty (30) days after the close of each
    calendar month, monthly unaudited financial statements of the Hospital, containing a balance
    sheet and a statement of income, prepared in reasonable detail and in accordance with
    generally accepted accounting principles and the requirements of the Government Accounting
    Standards Board ("GASB") as applicable; and other financial statistical reports and reports
    reasonably requested by the Governing Bodies.

                     (b) Annually, within one hundred eighty (180) days after the end of each fiscal
    year of the Hospital, audited financial statements of the Hospital ("Audited Financial
    Statements"), including a balance sheet, statement of income, and statement of changes in
    financial position, prepared in reasonable detail and in accordance with generally accepted
    accounting principles and GASB, as applicable, and accompanied by a report of the
    independent auditor of the Hospital (selected by the Governing Body). This will include District
    financials reported with SWMC financials as required by the GASB guidelines.



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                    5.3    Strategic Plan and Budget . An annual updated Strategic Plan and
     Budget, to be delivered at least thirty (30) days prior to the beginning of each SWMC Fiscal
     Year during the Term of this Agreement, prepared in collaboration with the Governing Body.

                     All reports deliverable hereunder shall be generated by Manager using the then-
    existing systems of SWMC and delivery of such reports is conditioned upon the capability,
    availability, cooperation and access to, such SWMC systems and personnel by Manager.
    Manager shall hold monthly meetings with the Governing Body or its designee specified in
    writing to discuss the reports required pursuant to this Agreement.

           6.      Access to Records. Each Party agrees to provide the other, promptly when
    received, with access to all material reports, other filings, and communications from
    governmental authorities or agencies having jurisdiction over the Hospital.

            7.      Medical Staff, Quality of Care.

                    7 .1    Cooperation with Medical Staff. Manager -shall reasonably cooperate and
    maintain liaisons with the medical staff of the Hospital (collectively, the "Medical Staff') and shall
    advise and assist the Medical Staff concerning procedural matters and standards and guidelines
    on accreditation promulgated by an applicable Accreditation Organization. However, SWMC
    hereby agrees that all medical, ethical and professional matters, including control of and
    questions relating to the composition, qualifications and responsibilities of the Medical Staff,
    shall be the sole responsibility of the Governing Body and the medical executive committees of
    the Medical Staff of the Hospital.

           8.      Laws: Licenses: Reimbursement Programs: Accreditation

                     8.1     Compliance with Law. In performing services hereunder and in all other
    actions related to this Agreement, Manager and all personnel of Manager shall comply with
    Applicable Laws relating to the Hospital and the Management Services, including without
    limitation all agencies having jurisdiction over health care services, billing, labor/employment,
    taxation, environmental compliance, antitrust, or physical facility compliance. Manager shall
    assist SWMC to operate the Hospital so that SWMC maintains all necessary licenses, permits,
    consents, and approvals from all governmental agencies that have jurisdiction over the
    operation. of the Hospital. Manager shall not be obligated to SWMC for failure of the Hospital to
    comply with any such laws, rules, and regulations or for failure of the Hospital to maintain any
    such licenses, permits, consents, and approvals, to the extent that the failure is due to financial
    limitations of SWMC or the Hospital or to the design or construction of the Hospital, or is
    attributable to acts or omissions of SWMC or its agents (other than Manager or Manager's
    personnel, employees or contractors).

                    8.2    Charges for Services. Manager shall use its commercially reasonable
    efforts to promote compliance with all Applicable Laws and payer contracts or program
    requirements concerning coding, billing, charging, collecting and reporting on fees received for
    services of or provided in the Hospital and within the acceptable limits of federal, state, and
    third-party programs.

                   8.3    Accreditation. Manager shall use its commercially reasonable efforts to
    manage the Hospital in at least the manner necessary to maintain accreditation by an
    Accreditation Organization.



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                    8.4     No Violation. Neither SWMC nor Manager shall knowingly cause or
    permit any action that shall (i) cause any governmental authority having jurisdiction over the
    operation of the Hospital to institute any proceeding for the rescission, suspension, or
    revocation of any license, permit, consent, or approval; (ii) cause the applicable Accreditation
    Organization to institute any proceeding or action to revoke its accreditation of the Hospital; (iii)
    cause a termination of, or adversely affect, SWMC's participation in Medicare, Medicaid, or any
    other public or private medical payment program or Payer; or (iv) cause SWMC or the District to
    violate or default under any of its legal obligations under debt financings.

            9.     Limitations on Manager's Exercise of Duties.

                     9.1     SWMC Unilateral Actions. Notwithstanding any term herein to the
    contrary, if SWMC undertakes any material budgetary or operating decision or action that is ·
    solely within its discretion hereunder or including without limitption any major actions or ·
    decisions, which was against the advice of Manager as set forth in a written notice to SWMC,
    prior to or promptly after such unilateral decision or action by SWMC, SWMC agrees to provide
    Manager with reasonable advance written notice of any scheduled meeting of the SWMC Board
    or the Governing Body and afford Manager an opportunity to submit materials for the purpose.of·
    addressing such action and any related matters at such meeting.

                   9.2     Non-Recurring Actions. In the event Manager desires to take any non-
    recurring or one-time actions not contemplated by the Strategic Plan and Budget, or that
    otherwise require the advance written consent or approval of the Governing Body, the SWMC
    Board or the District Board (or their designees) pursuant to this Agreement but which do not
    require a formal modification to the Strategic Plan and Budget, the following provisions shall
    apply:

                           (a)    a request for consent or approval of the applicable entity with
    approval rights (the "Approving Party") shall be provided to such Party by Manager. Such
    request shall include a reasonably detailed description of the act or event for which consent is
    sought, and shall be delivered to the Approving Party and to the official designated by SWMC at
    the designated address via hand delivery or certified U.S. Mail or by facsimile or email and
    deemed received as set forth in Section 19.4 herein with respect to each such form of notice;

                           (b)      the Approving Party shall review, consider and approve, or require
    further review of, such proposed act or event within ten (10) business days of receiving such
    request; provided, that, such period shall be reasonably extended to provide the Approving
    Party with additional opportunities to review or consider any such acts or events if requested in
    writing accompanied by a reasonably detailed explanation of the reasons for extension and a
    commitment to provide a final decision within a stated period of time not to exceed thirty (30)
    days from the date of the initial request or such longer period as is reasonable given the
    circumstances.

           10.     Defense of Claims: Exculpation.

                   10.1   SWMC.

                           (a)    Each Party ("lndemnitor") agrees to defend, indemnify, and hold
    harmless the other Party ("lndemnitee") and its affiliates, subsidiaries, successors and assigns,
    directors, trustees, members, officers, employees, and agents, including, but not limited to, its
    Senior Executives and the Governing Body, District Board, and their members, from and against


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    any and all liability, loss, expense (including reasonable attorneys' fees) or claims for losses,
    damages, liabilities, deficiencies, claims, actions, suits, proceedings, judgments, settlements,
    interest, awards, penalties, fines, costs, or expenses (collectively, "Claims") arising out of the
    performance of this Agreement, but only in proportion to and to the extent such Claims result
    from, arise from, or are in any way related to the acts or omissions of the lndemnitor or its
    affiliates, subsidiaries, successors and assigns, directors, trustees, members, officers,
    employees, and agents. The lndemnitor shall not be obligated to indemnify the lndemnitee for
    any Claims to the extent such Claims resulted in whole or in part from the willful misconduct,
    fraud, or violation of Applicable Laws of the lndemnitee, in each such case as finally determined
    by an arbitrator under Section 14.3.

                           (b)     If any insurance coverage maintained by the Indemnifying Party
    would otherwise cover a liability, loss, expense (including reasonable attorneys' fees) or claim
    for injury or damages arising out of performance of this Agreement in whole or in part, nothing
    herein shall be construed to relieve the insurance carrier of its obligations under such coverage,
    which in all cases shall be primary to the Indemnifying Party's obligations.

                    10.2    Procedure.

                             (a)     In the event that any Party hereunder shall receive any notice of
     any claim or proceeding against it in respect to which indemnity may be sought under Section
     10 of this Agreement, the lndemnitee shall give the Party upon whom a claim could be made
     under this Section 10, the lndemnitor, written notice of such loss, liability, claim, damage, or
     expense and the lndemnitor shall have the right to contest and defend any action brought
     against the lndemnitee based thereon, and shall have the right to contest and defend any such
     action in the name of the lndemnitee at the lndemnitor's own expense; provided, however, that if
    the lndemnitor shall fail to assume the defense and notify the lndemnitee of the assumption of
    the defense of any such action within ten (10) days of the giving of such notice by the
     lndemnitee, then the lndemnitee shall have the right to take any such action as it reasonably
    deems appropriate to defend, contest, settle, or compromise any such action or assessment
    and claim indemnification as provided herein; provided, however, that no Party shall settle any
    such action without the consent of the other applicable Party (which consent shall not be
    unreasonably withheld) unless such settlement involves only the payment of money and the
    claimant provides the lndemnitee a release from all liability in respect of such claim. If the
    lndemnitor defends any action for which indemnification is claimed, the lndemnitee shall be
    entitled to participate at its own expense in the defense of such action; and further, provided,
    however, that the lndemnitor shall bear the fees and expense of the lndemnitee's counsel only if
    (i) the engagement of such counsel is specifically authorized in writing by the lndemnitor, (ii) the
    lndemnitor is not adequately prosecuting the defense in good faith, or (iii) the named parties to
    such action include both the lndemnitor and the lndemnitee and there exists a conflict or
    divergence of interest between such parties which renders it inappropriate for counsel selected
    by the lndemnitor to represent both of such parties. The lndemnitor shall not be liable for any
    settlement of any claim, action, or proceeding effected without its written consent, except as
    provided in this Section 10.3. No Party shall recover an amount in excess of the actual damages
    incurred.

                            (b)    Notice of all claims as required by Section 10 shall be promptly
    provided as to (i) the nature of any claim; or (ii) the commencement of any suit or proceeding
    brought to enforce any claim. In the event of failure to provide such notice or in the event that
    lndemnitee shall fail to cooperate fully with lndemnitor in the lndemnitor's defense of any suit or
    proceeding, the lndemnitor shall be released from some or all of its obligations with respect to


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    that suit or proceeding to the extent that the failure of notice or cooperation actually and
    materially adversely affected the lndemnitor's defense of such claims.

                    10.3   Access to Records.

                            (a)     Manager shall provide to the SWMC Board, SWMC's auditors and
    accountants, SWMC's fiscal intermediaries and accountants and agents for the Medicare and
    Medicaid programs or any other governmental authority exercising legal and appropriate
    authority, access to all lawfully required records for a period of four (4) years after the furnishing
    of services under this Agreement to the extent required under Applicable Laws.

                             (b)     Until the expiration of four (4) years after the furnishing of
    Management Services pursuant to this Agreement, the Parties shall, upon written request, make
    available to the Secretary of Health and Human Services (the "Secretary" ) or the Comptroller
    General, or their duly authorized representative(s), contract, books, documents, and records
    related to this Agreement and necessary to verify the nature and extent of the cost of such
    Management Services. If any Party carries out any of its obligations under this Agreement by
    means of a subcontract with a fair market value of $10,000 or more, that Party agrees to include
    this requirement in any such subcontract. The availability of books, documents, and records
    shall be subject at all times to all applicable legal requirements, including without limitation such
    criteria and procedures for seeking and obtaining access that may be promulgated by the
    Secretary by regulation. Neither Party shall be construed to have waived any applicable
    attorney-client privilege by virtue of this Section 10.5.

                   10.4 Exercise of Right of Access. The foregoing rights of access shall be
    exercisable through a written request, upon which Manager and its subcontractors shall give
    access to the above contracts, books, documents, and records from time to time during
    reasonable business hours.

           11.     Management Fee.

                   11.1    Management Fees. In consideration for the Management Services
    provided by Manager pursuant to this Agreement and as described in Section 4, the reports to
    SWMC described in Section 5, and the other functions and obligations of Manager described
    herein (but excluding corporate Consulting Services described in Section 4.19),. SWMC shall
    pay Manager a monthly management fee (the "Management Fee" ) in the amount of Eighty
    Thousand Dollars ($80,000) for the first six months hereunder and a monthly management fee
    of Seventy Thousand Dollars ($70,000) for the second six months hereunder. The Management
    Fee shall increase annually (twelve months from the Effective Date of this Agreement) based
    upon the United States published annual inflation rate. If at the end of the first twelve months
    of this Agreement, Hospital has $2,000,000 in minimum liquidity (meaning the sum of all cash in
    any bank accounts of the Hospital), provided the Hospital is fully current on all its accounts
    payable obligations, Hospital shall pay to Manager a bonus of $200,000.

                    11.2 Timing of Payments. Manager shall submit a monthly invoice for the
    Management Fee to SWMC at least ten (10) days in advance of the end of each month.
    Following receipt of the monthly invoice, SWMC shall pay the Management Fee within ten (10)
    days after the close of the month. Payment for the first month will be prorated accordingly.




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                   11 .3 Arm's Length Transaction. The Parties have negotiated the Management
    Fee at arm's length and each Party believes that the Management Fee is reasonable and
    consistent with fair market value and comply with Applicable Laws.

            12.     Breach. In the event of a breach of any obligation or covenant under this
    Agreement, other than the obligation to pay money (which shall have a thirty (30) day cure
    period), the non-breaching Party may give the breaching Party written notice of the specifics of
    the breach, and the breaching Party shall have sixty (60) days (the "Cure Period") in which to
    cure the breach; provided, that for any non-monetary defaults reasonably requiring greater than
    ninety (90) days to cure, the breaching Party shall not be in default so long as the breaching
    Party commences to cure such default within the required sixty (60) days and diligently
    prosecutes such cure to completion thereafter. Only if the breach is not cured within said Cure
    Period shall the non-breaching Party be entitled to pursue any remedies it may have by reason
    of the breach. A waiver of any breach of this Agreement shall not constitute a waiver of any
    future breaches of this Agreement, whether of a similar or dissimilar nature.

            13.     Term.

                    13. 1 Term. Subject to the satisfaction of the conditions specified in Section
    13.2, the term of this Agreement ("Term") shall commence and be deemed effective as of the
    Effective Date, and continue for an initial five (5) year period, and shall automatically renew for
    an unlimited number of additional one (1) year periods unless a Party provides at least one
    hundred twenty (120) days prior written notice of nonrenewal to the other Party.

                   13.2 Conditions to Effectiveness. This Agreement shall become effective only
    upon satisfaction of the following conditions: (i) execution of this Agreement; and (ii) the
    provisions of Section 11.3 have been effected.

            14.    Dispute Resolution and Remedies.

                    14.1   Resolution by Management. The Parties' respective management teams
    shall attempt, in good faith, to privately and confidentially resolve any dispute, controversy or
    claim arising under this Agreement (a "Dispute"). In the event the Parties are unable to resolve
    the Dispute after negotiating in good faith for thirty (30) days following written notice of the
    Dispute served on a Party, either Party may refer such Dispute to the SWMC Board or
    Governing Board of the District.

                    14.2 Resolution by Consultant. If the parties are unable to resolve the Dispute
    within twenty (20) days of meeting, then the Dispute shall be referred for resolution to a third-
    party consultant with expertise in the field of the Dispute (the "Consultant"), the identity of such
    Consultant to be mutually agreed upon by the parties in good faith.

                    14.3 Arbitration. If the agreed-upon Consultant is unable to resolve, or propose
   a correction plan that resolves, the Dispute, in either case to the mutual satisfaction of the     ·
   Parties, within twenty (20) days after the referral, or the Parties cannot agree on a consultant
   within twenty (20) days after a request by a Party, then the Dispute shall be settled by binding
   arbitration, in California, before a single, mutually agreeable arbitrator, in accordance with the
   JAMS expedited arbitration rules. Each Party covenants to use its commercially reasonable
   efforts to conclude any arbitration proceeding as expeditiously as reasonably feasible. Each
   Party shall be responsible for one-half of all costs resulting from initiation of the arbitration



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    procedure set forth herein; provided, that the arbitrator shall award reasonable costs and
    attorneys' fees to the prevailing Party or Parties or a claim or counterclaim.

                    14.4 Remedies. The arbitrator under Section 14.3 may grant as remedies in
    connection with an outstanding Dispute: (a) a required Corrective Action Plan for Manager's
    performance of the Management Services, (b) specific performance of this Agreement, (c) a
    reduction in the Management Fees payable to Manager, (d) full payment by SWMC to Manager
    in accordance with the terms hereof, (e) monetary indemnification in accordance with the terms
    hereof, and/or (f) any other lawful and appropriate remedy, including termination of this
    Agreement.

                     14.5 Exclusive Process. Except as otherwise set forth herein, the procedure
    set forth in this Section 14 shall be the Parties' exclusive process for resolution of all Disputes;
    provided, that any Party may seek from any court of competent jurisdiction (a) temporary
    injunctive relief (but not monetary damages) to prevent imminent harm or danger to the Party or
    the patients of the Hospital or employees of either Party pending final resolution as described
    herein, (b) specific performance of a Party's indE?_mnification obligations; or·(c) judicial entry of
    any arbitral award.                                                          ·

             15.     Termination. This Agreement may be terminated prior to the expiration of the
    Term only as follows, and any such termination shall not affect any rights or obligations arising
    prior to the effective date of termination.

                   15 .1   Termination for Material Breach.

                            (a)    In the event of a material breach of this Agreement which is not
    cured within the Cure Period set forth in Section 12 of this Agreement, the non-breaching Party
    may terminate this Agreement upon no less than sixty (60) days' advance written notice to the
    other Party unless the breaching Party has diligently commenced to cure, and has cured the
    breach, within the prescribed Cure Period; provided, that, in the event the material breach is
    related to an obligation to pay money, no such advance written notice period shall be required in
    the event such breach is not cured within the thirty (30) day Cure Period provided in Section 12.
    This remedy shall be in addition to any other remedy available at law or in equity. Failure to
    terminate this Agreement shall not waive any breach of this Agreement.

                            (b)      Notwithstanding any provision contained herein, however,
   Manager shall not be liable to SWMC and shall not be deemed to be in breach of this
   Agreement for the failure to perform any or all obligations to be performed by Manager pursuant
   to this Agreement, to the extent such failure results from (i) governmental intervention, (ii) labor
   dispute, (iii) law, regulations, rules or reimbursement rules or policies that actually prevent such
   performance, (iv) any other action or event which is beyond the reasonable control of Manager,
   or (v) any failure by SWMC to perform or meet any of SWMC's obligations hereunder; and
   provided that Manager shall nevertheless be obligated duly to perform hereunder to the extent
   such performance remains feasible.

                 15.2 Termination upon Cessation of Operations." This Agreement shall
   terminate automatically if the Hospital ceases operations.

                   15.3 Bankruptcy or Insolvency. Manager may terminate this Agreement upon
   fifteen (15) days written notice to SWMC in the event SWMC becomes insolvent or fails to pay,
   or admits in writing its inability to pay, its debts as they mature; or a trustee, receiver or other


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    custodian is appointed for SWMC for all or a substantial part its property and is not discharged
    within sixty (60) days of appointment; or any bankruptcy reorganization, debt, arrangement, or
    other proceeding under any bankruptcy or insolvency law or any dissolution or liquidation
    proceeding is instituted by or against SWMC and if instituted against SWMC is consented to or
    acquiesced in by SWMC or remains undismissed for sixty (60) days following the original filing;
    or any warrant or attachment is issued against any substantial portion of the property of SWMC
    which is not released within sixty (60) days of service; and SWMC may likewise terminate if any
    of the foregoing occurs with regard to Manager and, as a result thereof, substantially impairs
    Manager's ability to perform its obligations under this Agreement, provided, that, each Party
    recognizes and acknowledges that enforcement of this Section 15.3 by the non-bankrupt party
    is subject to the provisions of the automatic stay in bankruptcy in the event of a bankruptcy filing
    by or against a Party.

                     15.4 Legal Event: Notice to Amend: Termination. Notwithstanding any other
     provision of this Agreement, provided that this Agreement is not terminated by Manager or
     SWMC pursuant to any other provision of this Agreement, if the governmental agencies that
     administer the Medicare, Medicaid, or other federally funded programs (or their representatives
     or agents), or any other federal, state or local governmental or non-governmental agency, or
     any court or administrative tribunal pass, issue, or promulgate any law, rule, regulation,
    standard, interpretation, order, decision, or judgment, including but not limited to those relating
    to any regulations pursuant to state or federal anti-kickback or physician self-referral statutes
    (collectively or individually " Legal Event" ), which, in the written opinion of counsel for either
    Party (the "Noticing Party"), (i) makes continued implementation of this Agreement in
    accordance with its terms unlawful in material respects, or (ii) subjects the Noticing Party to a
    material risk of prosecution or civil monetary penalty, then the Noticing Party may give the other
    Party notice of intent to amend this Agreement solely for the purpose of (a) conforming to law
    and (b )preserving to each Party the economic effects as close to the provisions hereof as is
    feasible and would yet be lawful. In the event of such notice, the Parties shall have thirty (30)
    days from the giving of such notice ("Renegotiation Period") within which to attempt to amend
    this Agreement. If this Agreement is not so amended within the Renegotiation Period to the
    mutual satisfaction of each Party, this Agreement shall terminate as of midnight on the thirtieth
    (30th) day after said notice was given.

                    15.5 Mutual Agreement. This Agreement may be terminated at any time by
    written agreement of the Parties, under such terms and with such effective date as the Parties
    may mutually specify. If despite the good faith performance hereunder by the Parties, results of
    operations at the Hospital decline to such a level that it becomes no longer reasonably feasible
    for SWMC to operate the Hospital as a viable business, then neither Party hereto will
    unreasonably withhold mutual consent to termination under this Section 15.5.

                    15.6 Termination of MSSA. This Agreement shall terminate automatically in
    the event that the MSSA terminates, subject to the full and complete payment of all
    compensation due Manager, including Management Fee payments, to the extent any and all
    such compensation is due to Manager as of the date of any such termination of the MSSA.

                   15.7 Effects of Termination. The termination of this Agreement for any reason
    shall be without prejudice to any payments or obligations which may have been earned and
    accrued or become due to any Party hereunder prior to the date of termination. Notwithstanding
    anything to the contrary herein, the following provisions shall survive any termination hereof:
    Section 6 (Access to Records), Section 10 (Defense of Claims, Exculpation), Section 11
    (Management Fee), Section 14 (Dispute Resolution and Remedies), Section 17


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     (Representations and Warranties) and Section 19 (Miscellaneous). Subject to Section 11, in the
     event this Agreement is terminated for any reason, SWMC shall pay to Manager any unpaid
     fees as provided herein to the extent any and all such fees are due to Manager as of the date of
     any such termination.

            16.     Representations and Warranties.

                 16.1      Manager. As of the Effective Date, Manager represents and warrants to
    SWMC as follows:

                           (a)     Manager is a limited liability company duly organized, validly
    existing, and in good standing under the laws of the State of Florida and authorized to do
    business in the State of California.

                             (b)    Manager has full authority to enter into and perform this
    Agreement, and the signature of Manager's representative at the end hereof signifies that this
    Agreement has been duly authorized, executed and delivered and represents a legal, valid and
    binding agreement enforceable against Manager in accordance with its terms (subject only to
    customary limitations on the enforceability and availability of remedies in accordance with
    principles of law and equity). Notwithstanding the forgoing, pursuant to the terms of the MSSA,
    the District Board will have the final authority to approve this Agreement.

                            (c)     The execution, delivery and performance of this Agreement by
    Manager does not (i) require any consent, waiver, approval, license or authorization of any
    person or public authority which has not been obtained and is not presently in effect; (ii) to the
    knowledge of Manager, violate any provision of law applicable to Manager; or (iii) conflict with or
    result in a default under, or create any lien upon any of the property or assets of Manager
    under, any agreement or instrument; or (iv) violate any judicial or administrative decree,
    contract, or other legal obligation to which Manager is subject or by which any of its assets are
    bound.

                          (d)     There is no civil, criminal or administrative action, suit, demand,
    claim, hearing, proceeding or investigation pending or, to Manager's knowledge threatened
    against Manager that may materially delay or interfere with its entering into and fully and duly
    performing this Agreement.

                          (e)    Neither Manager nor, to the knowledge of Manager, any Manager
    personnel (including any Senior Executive) is a person excluded or barred from the Medicare or
    Medicaid (including Medi-Cal) programs or third-party payer programs.

                  16.2     SWMC. As of the Effective Date, SWMC represents and warrants to
    Manager as follows:

                             (a)   SWMC is a nonprofit public benefit corporation, duly organized,
    validly existing, and in good standing under the laws of the State of California and is a tax-
    exempt 501 (c)(3) organization.

                          (b)    SWMC has full authority to enter into and perform this Agreement,
    and the signature of SWMC's representative at the end hereof signifies that this Agreement has
    been duly authorized, executed and delivered and represents a legal, valid and binding
    agreement enforceable against SWMC in accordance with its terms (subject only to customary


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    limitations on the enforceability and availability of remedies in accordance with principles of law
    and equity). PDHCD in accordance with the MSSA Agreement with SWMC will have the final
    authority to approve this agreement.

                             (c)    The execution, delivery and performance of this Agreement by
    SWMC does not (i) require any consent, waiver, approval, license or authorization of any person
    or public authority which has not been obtained and is not presently in effect; (ii) violate any
    provision of law applicable to SWMC; or (iii) conflict with or result in a default under, or create
    any lien upon any of the property or assets of SWMC under, any agreement or instrument; or
    (iv) violate any judicial or administrative decree, contract, or other legal obligation to which
    SWMC is subject or by which any of its assets are bound.

                          ( d)    There is no civil, criminal or administrative action, suit, demand,
    claim, hearing, proceeding or investigation pending or, to SWMC's knowledge threatened
    against SWMC that may materially delay or interfere with its entering into and fully and duly
    performing this Agreement.

          17.     Definitions. When used in this Agreement, the following terms shall have the
    meanings set forth below:

           "Accreditation Organization" means any organization engaged in accrediting or certifying
    the Hospital.

            "Affiliate" means, with respect to any specified Person, (a) any other Person directly or
    indirectly controlled by, controlling or under common control with such specified Person, (b) any
    executive officer, director, member, manager, managing member or general partner of any such
    specified Person and (c) with respect to any natural person that qualifies as an Affiliate of a
    specified Person, also includes any other natural person related to such Affiliate by blood,
    marriage or adoption not more remote than first cousin or any trust for the benefit of the
    foregoing natural persons.

           "Agreement" means this Management Services Agreement, as amended, restated or
    modified from time to time.

             "Applicable Laws" means (i) all statutes, laws, common law, administrative decisions,
    rules, regulations, ordinances, codes or other legal requirements of any Governmental
    Authority, stock exchange, board of fire underwriters and similar quasi-governmental authority,
    and (ii) any judgment, injunction, order or other similar requirement of any court or other
    adjudicatory authority, in effect at the time in question and in each case to the extent the Person
    or property in question is subject to the same.

           "Audited Financial Statements" shall have the same meaning as set forth in Section 5.2.

           "Management Fee" shall have the same meaning as set forth in Section 11.1.

           "CDPH" means the California Department of Public Health.

           "CMS" means the Centers for Medicare & Medicaid Services.




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           "Conditions of Participation" means the federal regulations set forth by CMS that govern
    acute care hospitals and their participation in Medicare, as well as other federally funded
    programs such as Medicaid .

            "Consulting Services" shall have the same meaning as set forth in Section 4.19.

            "DHCS" means the California Department of Health Care Services.

            "DMHC" means the California Department of Managed Health Care.

           "EBIDA" means earnings before interest, depreciation and amortization, excluding all
    borrowings, donations and subsidy payments from the District.

           "Emergency" or "Emergency Services" means Hospital Services required by Applicable
    Laws, including, but not limited to, the Emergency Medical Treatment and Active Labor Act
    ("EMTALA"), to be provided to a Person as the result of a medical condition constituting a
    medical emergency.

            "Expenses" shall have the same meaning as set forth in Section 4.17.

           "Governing Body" has the meaning set forth in the second recital.

           "Government Authority" means any federal, state or local government or other political
    subdivision thereof, including CMS, CDPH, DHCS, DMHC and any other Person exercising
    executive, legislative, judicial, regulatory or administrative powers or functions of government, in
    each case to the extent the same has jurisdiction over the Person or property in question.

           "Hospital Services" means the medical care, products and services provided by the
    Hospital to the general public, including Emergency Services, and all activities and operations of
    the Hospital.

           "Management Services" shall have the same meaning as set forth in Section 4.1.

              "Medicaid" means the means-tested entitlement program under Title XIX of the Social
    Security Act that provides federal grants to states for medical assistance based on specific
    eligibility criteria (Social Security Act of 1965, Title XIX; P.L. 89-87, as amended; 42 U.S.C. §§
    1396 et seq.), including the California Medi-Cal Program ("Medi-Cal").

           "Medical Staff' shall have the same meaning as set forth in Section 7.1.

           "Medicare" means the government-sponsored entitlement program under Title XVIII of
    the Social Security Act that provides for a health insurance system for eligible elderly and
    disabled individuals (Social Security Act of 1965, Title XVIII, P.L. 89-87 as amended; 42 U.S.C.
    §§1395 et seq.).

           "Payor" means the Person having responsibility for paying Hospital Claims, or otherwise
    compensating for Hospital Services, including Medicare, Medicaid, TRICARE, Blue Cross
    and/or Blue Shield, state government insurers, private insurers and any other Person that
    maintains a medical or health care benefit program.




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           "Person" means an individual, corporation, partnership, limited liability company,
    association, trust, joint venture, unincorporated organization, governmental entity or political
    subdivision thereof or other entity or group.

            "Senior Advisors" shall have the same meaning as set forth in Section 4.2.

            "Senior Executives" shall have the same meaning as set forth in Section 4.2.

            "SWMC Accounts" shall have the same meaning as set forth in Section 4.16.

            "SWMC Personnel" shall have the same meaning as set forth in Section 4.2(c).

             "Term" shall have the same meaning as set forth in Section 13 above.

            18.     Miscellaneous.

                     18.1    Non-Solicitation. During the Term hereof and for a period of one (1) year
    after its expiration or termination for any reason, neither Party (and its affiliates, officers,
    directors employees and agents) shall solicit for employment or contracted services, with any
    employee of the other Party or its affiliates. In addition, SWMC, on behalf of itself and its
    affiliates and any person which may acquire all or substantially all of its assets agrees that, until
    one (1) year subsequent to the termination of this Agreement, it will not solicit or recruit any
    Senior Executive or other employee of the Manager.

                     18.2 Public Statements. Manager shall obtain SWMC's prior written consent to
    any public statements about SWMC, services provided, or its relationship hereunder, and shall
    refrain from making any such statements unless reasonably consented to by SWMC, provided
    only that Manager may make any public statements reasonably necessary to comply with law or
    assert its legal rights in accordance with law and this Agreement.

                    18.3 Reimbursable Expenses. During the Term, Manager shall be promptly
    reimbursed upon receipt by SWMC of required documentation for all reasonable expenses (to
    the extent of and pursuant to SWMC's expense reimbursement policy for other personnel and
    contractors) incurred by Manager or third parties Manager contracts with in connection with the
    provision of the Management Services hereunder (e.g., Senior Executives), including , but not
    limited to transportation, lodging, meals, travel and office expenses upon submission to SWMC
    of invoices therefore.

                     18.4 Notices. All notices, requests, demands and other communications
    required or permitted to be given pursuant to this Agreement must be in writing and shall be (i)
    delivered to the appropriate address by hand, by nationally recognized overnight service (costs
    prepaid); (ii) sent by facsimile or email, or (iii) sent by registered or certified mail, return receipt
    requested, in each case to the following addresses, facsimile numbers or email addresses and
    marked to the attention of the person (by name or title) designated below (or to such other
    address, facsimile number, email address or person as a Party may designate by notice
    delivered to the other Party in accordance with this Section 19.4:

                    Durall Capital Holdings, LLC: Aaron Durall
                    5387 N Nob Hill Road
                    Sunrise, FL 33351
                    Email: ald@durallfirm.com


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                    Sonoma West Medical Center Attn: President
                    501 Petaluma Avenue, Sebastopol, California 95472
                    Email: Dan.Smith@ehrinternational.com

                   All notices, requests, demands and other communications shall be deemed have
    been duly given (as applicable): (A) if delivered by hand, when delivered by hand; (B) if
    delivered by UPS, Federal Express, OHL or other nationally-recognized overnight delivery
    service, when delivered by such service; (C) if sent via registered or certified mail, three (3)
    Business Days after being deposited in the mail, postage prepaid; or (D) if delivered by email or
    facsimile, when transmitted if transmitted with confirmed delivery.

                    18.5 Severability. If any clause or provision of this Agreement is determined by
    a governmental body or a court having jurisdiction thereof to be illegal, invalid, or unenforceable
    under any present or future law, then the Parties agree that the remaining provisions of this
    Agreement that reasonably can be given effect apart from the illegal or unenforceable provision
    shall continue in effect and there shall be substituted for such invalid or unenforceable provision
    a provision as similar as is feasible and yet would be lawful.

                    18.6 Expenses. Except as otherwise expressly provided herein, each Party will
    bear its own legal, accounting, and other fees and expenses relating to the negotiation and
    preparation of this Agreement and the transactions contemplated hereby.

                   18. 7 Public Announcements. The timing and content of any announcements,
    press releases, or other public statements concerning this Agreement and the transactions
    described herein will be determined by a process agreed to by the Parties.

                   18.8 Entire Agreement. This Agreement (including exhibits and schedules)
    contain the entire agreement of the Parties with respect to the matters set forth herein and
    supersede all prior negotiations and agreements, whether oral or written, concerning the subject
    matter hereof, all of which are merged in this Agreement.

                  18.9 Captions. The captions or titles of the sections herein have been included
    for convenience only and shall not be considered as part of this Agreement.

                   18.10 Counterparts. This Agreement may be signed in counterparts, each of
    which shall be deemed an original. Delivery of an executed counterpart of a signature page to
    this Agreement by facsimile or in electronic ("pdf' or "tif) format shall be effective as delivery of
    a manually executed counterpart of this Agreement.

                    18.11 Force Maieure. If either Party hereto is delayed or hindered in, or
    prevented from, the performance of any obligation hereunder by reason of fire, strikes, lock-
    outs, severe weather, rain, earthquakes, other acts of God, labor troubles or shortages, inability
    to procure materials, failure of power, restrictive governmental laws or regulations, riots,
    insurrection, war, or other reasons of a like nature not the fault of the Party delayed in
    performing work or doing acts required under the terms of this Agreement (all of such reasons
    or causes referred to in this Agreement as "Force Majeure"), then performance of such acts
    shall be excused to the extent it is not possible, and for the period of the delay, and the period of
    the performance of any such act shall be extended for a period equivalent to the period of such
    delay; provided, that during such interregnum, the Party so impeded shall continue in good faith
    to perform to the full extent that remains reasonably feasible. If substantial nonperformance



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    continues for more than one hundred twenty (120) days, the Party so harmed may terminate
    upon thirty (30) days written notice.

                    18.12 Consents. Whenever under this Agreement provision is made for either
    Party's securing the consent or approval of the other, such consent or approval shall be in
    writing and (except as otherwise provided herein) shall not be unreasonably withheld, delayed,
    or conditioned.

                    18.13 Binding Effect: Assignment. This Agreement is binding on and is for the
    benefit of SWMC and Manager and their successors, assigns, and legal representatives. No
    Party shall assign any of its rights or delegate any of its obligations under this Agreement
    without the prior written consent of the other Party; provided, that, Manager may (upon written
    notice to SWMC) assign this Agreement to an affiliate of Manager, and/or to subcontract with
    any other parties in order to comply with and perform certain of its obligations hereunder,
    provided that·Manager shall (a) adequately inform such subcontractors of their obligations
    hereunder, (b) ensure that they fully comply herewith, and (c) remain fully responsible for the
    performa_nce of any such affiliate and/or subcontractor in accordance with all Applicable Laws.

                     18.14 Governing Law. This Agreement shall be governed and construed
    according to the laws of California, without giving effect to any choice or conflict of law provision
    or rule thereof.

                   18.15 Further Assurance. Each Party agrees to execute and deliver to the other
    such additional instruments, certificates, and documents as the requesting Party may
    reasonably request in order to assist the requesting Party in obtaining the rights and benefits to
    which such Party is entitled hereunder.

                  18.16 Third-Party Beneficiaries. The Manager Indemnified Persons and SWMC
    Indemnified Persons are express third party beneficiaries of Section 11 hereof. The Senior
    Executives are express third party beneficiaries of the provisions of this Agreement that relate to
    them. The District is a third party beneficiary of this Agreement.

                     18.17 Performance Data. Manager shall have rights to all performance data for
    the Hospital relating to the period following the Effective Date (including prior data for
    comparative purposes) through the Term hereof, for use as Manager deems appropriate in its
    sole discretion.

            IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed as of
    the date first written above.

                                                SONOMA WEST MEDICAL CENTER



                                                By:
                                                       ------------------
                                                Its:




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                                    DURALL CAPITAL HOLDINGS, LLC



                                    By:
                                           ----------------
                                    Its:




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                                     EXHIBIT A

                          BUSINESS ASSOCIATE AGREEMENT




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                            BUSINESS ASSOCIATE AGREEMENT

               THIS BUSINESS ASSOCIATE AGREEMENT (the "BA Agreement") is
       hereby entered between Sonoma West Medical Center (the "Covered Entity")
       and Durall Capital Holdings, LLC, (the "Business Associate") in order for the
       Covered Entity to disclose Protected Health Information to the Business
       Associate in connection with services or products provided to or for Covered
       Entity, or as otherwise required by the Health Insurance Portability and
       Accountability Act of 1996, as amended, ("HIPAA"). The Covered Entity and
       Business Associate agree to the following terms and conditions, which are
       intended to comply with HIPAA; the Health Information Technology for Economic
       and Clinical Health Act of 2009 (the "HITECH Act"); and, rules promulgated
       pursuant to such laws:

       1. General Terms and Conditions

       (a) "Privacy Rule" shall mean the Standards for Privacy of Individually Identifiable
       Health Information at 45 C.F.R. part 160 and subparts A and E of part 164.

       (b) "Security Rule" shall mean the Standards for Security of Individually
       Identifiable Health Information at 45 C.F.R. part 160 and subparts A and C of part
       164.

       (c) Capitalized terms used but not otherwise defined in this BA Agreement shall
       have the same meaning as those terms in the Privacy Rule and Security Rule,
       including 45 CFR §§ 160.103 and 164.501.

       2. Obligations and Activities of Business Associate

       (a) Business Associate agrees to not use or disclose Covered Entity's Protected
       Health Information other than as permitted or required by this BA Agreement or
       applicable law.

       (b) Business Associate agrees to use appropriate safeguards to prevent use or
       disclosure of the Covered Entity's Protected Health Information other than as
       provided for by this BA Agreement.

      (c) Business Associate agrees to report to Covered Entity's Privacy Official,
      within five (5) business days, any use or disclosure of Covered Entity's Protected
      Health Information not provided for by this BA Agreement, including the
      identification of each Individual whose unsecured Protected Health Information
      has been, or is reasonably believed by the Business Associate to have been,
      accessed, acquired, or disclosed in a noncompliant manner (a "breach").

      (d) Business Associate agrees to ensure that any agent or subcontractor to
      whom it provides Covered Entity's Protected Health Information received from, or
      created or received by Business Associate on behalf of Covered Entity, agrees to

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       the same restrictions and conditions that apply through this BA Agreement to
       Business Associate with respect to such information.

       (e) To the extent Business Associate has Covered Entity's Protected Health
       Information in a Designated Record Set, Business Associate agrees to provide
       access, at the request of Covered Entity, to Protected Health Information in a
       Designated Record Set, for Covered Entity in order to meet the requirements of
       45 C.F.R. § 164.524, including provision of records in electronic form to the
       extent required by the HITECH Act.

       (f) Business Associate agrees to make any amendment( s) to Protected Health
       Information in its possession contained in a Designated Record Set that Covered
       Entity directs or agrees to pursuant to 45 C.F.R. § 164.526 at the request of
       Covered Entity.

       (g) Business Associate agrees to make its internal practices, books, and records
       relating to the use and disclosure of Protected Health Information received from,
       or created or received by Business Associate on behalf of Covered Entity,
       available to the Secretary of Health and Human Services, in a time and manner
       designated by the Secretary, for purposes of the Secretary determining Covered
       Entity's compliance with the Privacy Rule.

       (h) Business Associate agrees to document all disclosures of Covered Entity's
       Protected Health Information in its possession and information related to such
       disclosures as would be required for Covered Entity to respond to a request by
       an Individual for an accounting of disclosures of Protected Health Information in
       accordance with 45 C.F.R. § 164.528, and the HITECH Act.

       (i) Business Associate agrees to provide to Covered Entity information collected
       in accordance with Section 2(h) of this BA Agreement, to permit Covered Entity
       to respond to a request by an Individual for an accounting of disclosures of
       Protected Health Information in accordance with 45 C.F.R. § 164.528, and the
       HITECH Act.

       U) Business Associate agrees to, subject to subsection 4(c) below, return to the
       Covered Entity or destroy, within fifteen (15) days of the termination of this
       Agreement, the Covered Entity's Protected Health Information in its possession
       and retain no copies.

       (k) Business Associate agrees to mitigate, to the extent practicable, any harmful
       effect that is known to either party, of a use or disclosure of Covered Entity's
       Protected Health Information in violation of this BA Agreement or applicable law.

      (I) Business Associate agrees to indemnify, insure, defend and hold harmless
      Covered Entity and Covered Entity's employees, directors, officers,
      subcontractors, agents, or members of its workforce, each of the foregoing
      hereinafter referred to as an "indemnified party," against all actual and direct

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       losses suffered by the indemnified party and all liability to Individuals arising from
       or in connection with any breach of this BA Agreement or of any warranty
       hereunder or from any negligence, wrongful acts, or omissions, including the
       failure to perform its obligations under HIPAA, as well as the additional
       obligations under the HITECH Act, by Business Associate or its employees,
       directors, officers, subcontractors, agents, or members of its workforce. This
       includes, but is not limited to, expenses associated with notification to Individuals
       and/or the media in the event of a breach of Protected Health Information held by
       Business Associate. Accordingly, on demand, Business Associate shall
       reimburse any indemnified party for any and all actual and direct losses,
       liabilities, lost profits, fines, penalties, costs or expenses (including reasonable
       attorneys' fees) which may for any reason be imposed upon any indemnified
       party by reason of any suit, claim, action, proceeding or demand by any.
       Individual which results from the indemnifying party's breach hereunder. The
       provisions of this paragraph shall survive the expiration or termination of this BA
       Agreement for any reason.                          ·

       (m) In addition to its overall obligations with respect to Protected Health
       Information, to the extent required by the Security Rule, Business Associate will:

              (i) Implement administrative, physical, and technical safeguards that
              reasonably and appropriately protect the confidentialrty, integrity, and
              availability of the Covered Entity's electronic Protected Health Information
              ("EPHI") that it creates, receives, maintains, or transmits on behalf of
              Covered Entity as required by HIPAA;

              (ii) Ensure that any agent or subcontractor to whom it provides such EPHI
              agrees to implement reasonable and appropriate safeguards to protect the
              EPHI; and

             (iii) Report to Covered Entity any Security Incident upon discovery.

       (n) Except as otherwise allowed in this BA Agreement, HIPAA, and the HITECH
       Act, Business Associate shall not directly or indirectly receive remuneration in
       exchange for any Protected Health Information of an Individual unless the
       Individual has provided a valid, HIPAA-compliant authorization.

      (o) Business Associate shall use and disclose only the minimum necessary
      Protected Health Information to accomplish the intended purpose of such use,
      disclosure or request, as applicable. Prior to any use or disclosure, Business
      Associate shall determine whether a Limited Data Set would be sufficient for
      these purposes.

      (p) Covered Entity, in its sole and absolute discretion, may elect to delegate to
      Business Associate the requirement under HIPAA, and the HITECH Act, to notify
      affected Individuals of a breach of unsecured Protected Health Information if
      such breach results from, or is related to, an act or omission of Business

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       Associate or the agents or representatives of Business Associate. If Covered
       Entity elects to make such delegation, Business Associate shall perform such
       notifications and any other reasonable remediation services (i) at Business
       Associate's sole cost and expense, and (ii) in compliance with all applicable laws
       including HIPAA, and the HITECH Act. Business Associate shall also provide
       Covered Entity with the opportunity, in advance, to review and approve of the
       form and content of any breach notification that Business Associate provides to
       Individuals.

       (q) Pursuant to the Security Rule, Business Associate agrees to comply with the
       following:

            (i) Sections 164.308 (administrative safeguards), 164.310 (physical
            safeguards), 164.312 (technical safeguards) and 164.316 (policies and
            procedures and documentation requirements) of the Security Rule shall
            apply to Business Associate in the same manner that such sections apply
            to Covered Entity. The additional requirements of the HITECH Act that
            relate to security and that are made applicable with respect to covered
            entities shall also be applicable to Business Associate and shall be and by
            this reference hereby are incorporated into this BA Agreement.

            (ii) Unless Covered Entity agrees, in writing, that this requirement is
            infeasible with respect to particular data, Business Associate shall secure
            all Protected Health Information by a technology standard that renders
            Protected Health Information unusable, unreadable, or indecipherable to
            unauthorized individuals and is developed or endorsed by a standards
            developing organization that is accredited by the American National
            Standards Institute and is consistent with guidance issued by the Secretary
            of Health and Human Services specifying the technologies and
            methodologies that render Protected Health Information unusable,
            unreadable, or indecipherable to unauthorized persons, including the use of
            standards developed under§ 3002(b)(2)(B)(vi) of the Public Health Service
            Act, as added by the HITECH Act.

           (iii)    Business Associate may use and disclose Protected Health
           Information that Business Associate obtains or creates only if such use or
           disclosure, respectively, is in compliance with each applicable requirement
           of§ 164.504(e) of the Privacy Rule, relating to business associate
           contracts. The additional requirements of Subtitle D of the HITE CH Act that
           relate to privacy and that are made applicable with respect to Covered
           Entity shall also be applicable to Business Associate and shall be and by
           this reference hereby are incorporated into this BA Agreement.

           (iv)     In accordance with § 164.504(e)(1 )(ii) of the Privacy Rule, each
           party agrees that, if it knows of a pattern of activity or practice of the other
           party that constitutes a material breach or violation of the other party's
           obligation under the BA Agreement, the non-breaching party will take
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             reasonable steps to cure the breach or end the violation, as applicable, and,
             if such steps are unsuccessful, terminate the contract or arrangement, if
             feasible, or if termination is not feasible, report the problem to the Secretary
             of Health and Human Services.

       (r) To the extent that Business Associate is to carry out Covered Entity's
       obligations under the Privacy Rule or the Security Rule, Business Associate will
       comply with any Privacy or Security Rule requirements that apply to Covered
       Entity in its performance of the obligation.

       3. Permitted Uses and Disclosures of Protected Health Information by
       Business Associate

       (a) General Use and Disclosure Provisions. Except as otherwise limited in this
       BA Agreement, Business Associate may use or disclose Protected Health
       Information obtained from or on behalf of Covered Entity to perform functions,
       activities, or services for, or on behalf of, Covered Entity as specified in this BA
       Agreement, provided that such use or disclosure complies with HIPAA. Business
       Associate acknowledges and agrees that it acquires no title or rights to the
       Protected Health Information, including any de-identified information, as a result
       of this BA Agreement.

       (b) Specific Use and Disclosure Provisions.

              (i) Business Associate may use or disclose Protected Health Information
              to perform functions, activities, or services for, or on behalf of, Covered
              Entity and fulfill its obligations under any underlying agreement with
              Covered Entity, provided that such use or disclosure would not violate the
              Privacy Rule or Security Rule if done by the Covered Entity.

             (ii) Business Associate may use and disclose Protected Health Information
             for the proper and necessary management and administration of Business
             Associate or to carry out the legal responsibilities of Business Associate,
             provided that, as to any such disclosure:

                    (A) the disclosure is Required By Law; or

                    (B) Business Associate obtains reasonable assurances from the
                    person to whom the information is disclosed that it will remain
                    confidential and used or further disclosed only as Required By Law
                    or for the purpose for which it was disclosed to the person, and the
                    person notifies Business Associate of any confidentiality breaches.

             (iii) Except as otherwise limited in this BA Agreement, Business Associate
             may use Protected Health Information to provide Data Aggregation
             services to Covered Entity, relating to the health care operations of
             Covered Entity.

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       4. Survival and Termination

       (a) Survival. Business Associate's obligations under this BA Agreement shall
       survive the termination of this BA Agreement and shall end when all of the
       Protected Health Information provided by Covered Entity to Business Associate,
       or created or received by Business Associate on behalf of Covered Entity, is
       destroyed or returned to Covered Entity. If it is infeasible to return or destroy
       Protected Health Information, protections are extended to such information, in
       accordance with the termination provisions in this Section.

       (b) Termination for Cause. Upon Covered Entity's knowledge of a material
       breach by Business Associate, Covered Entity shall provide written notice to
       Business Associate and may terminate this BA Agreement and any underlying
       agreement with Business Associate if Business Associate does not cure the
       breach or end the violation within 30 days of such notice.

       (c) Effect of Termination

             (i) Except as provided below in paragraph 4(c)(ii) of this BA Agreement,
             upon termination of this Agreement, for any reason, Business Associate
             shall return or destroy all Protected Health Information received from
             Covered Entity, or created or received by Business Associate on behalf of
             Covered Entity. This provision shall apply to Protected Health Information
             that is in the possession of subcontractors or agents of Business
             Associate. Business Associate shall retain no copies of the Protected
             Health Information.

              (ii) In the event that Business Associate determines that returning or
             destroying the Protected Health Information is infeasible, Business
             Associate shall provide to Covered Entity written notification of the
             conditions that make return or destruction infeasible, and, if Covered
              Entity determines that return or destruction is infeasible, Business
             Associate shall extend the protections of this BA Agreement to such
             Protected Health Information and limit further uses and disclosures of
             such Protected Health Information to those purposes that make the return
             or destruction infeasible, for so long as Business Associate maintains
             such Protected Health Information. If it is infeasible for Business Associate
             to obtain, from a subcontractor or agent, any Protected Health Information
             in the possession of the subcontractor or agent, Business Associate must
             provide a written explanation to Covered Entity and require the
             subcontractors and agents to agree in writing to extend any and all
             protections, limitations and restrictions contained in this BA Agreement to
             the subcontractors' and/or agents' use and/or disclosure of any Protected
             Health Information retained after the termination of this BA Agreement,
             and to limit any further uses and/or disclosures to the purposes that make
             the return or destruction of the Protected Health Information infeasible.

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       5. Interpretation and Amendment of this BA Agreement

       To the degree the terms of this BA Agreement conflict with the terms of any
       underlying contract, the terms of this BA Agreement shall control. A reference in
       this BA Agreement to a section of the Privacy Rule means the section as in effect
       or as amended. Any ambiguity or inconsistency in this BA Agreement shall be
       resolved in favor of a meaning that permits Covered Entity to comply with the
       Privacy Rule, the Security Rule, and the HITECH Act. The parties hereto agree
       to negotiate in good faith to amend this BA Agreement from time to time as is
       necessary for Covered Entity to comply with the requirements of the Privacy
       Rule, and HIPAA, and for Business Associate to provide services to Covered
       Entity. However, no change, amendment, or modification of this BA Agreement
       shall be valid unless it is set forth in writing and agreed to by both parties.

       6. No Third Party Rights/Independent Contractors

       The parties to this BA Agreement do not intend to create any rights in any third
       parties other than the parties. No patient whose confidential medical records may
       have been subject to an unintended disclosure of breach by any party shall have
       any rights or remedies under this BA Agreement. The parties agree that they are
       independent contractors and not agents of each other.

       7. Notices

      Any notice required or permitted by this BA Agreement to be given or delivered
      shall be in writing and shall be deemed given or delivered if delivered in person,
      or sent by courier or expedited delivery service, or sent by registered or certified
      mail, postage prepaid, return receipt requested, or sent by facsimile (if
      confirmed). Each party may change its address for purposes of this BA
      Agreement by written notice to the other party.

              WHEREFORE, the parties have executed this BA Agreement, effective as
      of the .last signature·date below.

      Covered Entity: Sonoma West Medical Center

      Signature: _ _ _ _ _ _ _ _ _ _ _ __                      Date: - - - - - - - -
      Printed Name:
      TitIe:
                    ------------
            ----------------
      Business Associate: Durall Capital Holdings, LLC


      Signature: _ _ _ _ _ _ _ _ _ _ _ _ __                    Date: - - - - - - -
      Printed Name:
                    ------------
      TitIe:
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                  LABORATORY MANAGEMENT SERVICES AGREEMENT

             This LABORATORY MANAGEMENT SERVICES AGREEMENT
      ("Agreement") is made and entered into to be effective as of the last dated signature
      below (the "Effective Date") by and between Sonoma West Medical Center, a
      California nonprofit public benefit corporation that operates a licensed acute care
      hospital in Sebastopol, California (the "Hospital") and Durall Capital Holdings, LLC
      ("Durall"), a Florida limited liability company.

                                            RECITALS

            WHEREAS, the Hospital desires to provide clinical laboratory toxicology
     testing (the "Testing") for its non-patients (defined as those patients whose only
     contact with the hospital is the accessioning of their specimens for Testing), and;

             WHEREAS, Durall is a company that specializes in the management of
     clinical laboratory Testing for the non-patients of hospitals such as Hospital, and;

             WHEREAS, the Hospital desires that Durall manage the Hospital's Testing
     for its non-patients, and;

           WHEREAS, Durall desires to provide the management for the Testing of the
     Hospital's non-patients, and;

            WHEREAS, the Hospital intends to provide toxicology analysis Testing
     services for its non-patients, and;

            WHEREAS, Durall intends to manage the Hospital's toxicology analysis
     Testing services for the Hospital's non-patients, and;

            WHEREAS, Durall intends to have an independent clinical reference
     laboratory provide toxicology confirmation Testing services for the Hospital's non-
     patients.

                                          AGREEMENT

            NOW, THEREFORE, for and in consideration of the mutual promises,
     covenants and conditions of this Agreement, the value of which is stipulated, the
     parties hereby agree as follows:

     1.     RESPONSIBILITIES OF DURALL

            1.1     Durall shall exclusively manage all applicable and necessary Testing
     for Hospital's non-patients.

            1.2    Durall shall provide for a third-party clinical reference laboratory to
     provide confirmation Testing for Hospital's non-patients.


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              1.3    Durall shall ensure the timely provision of a comprehensive clinical
      report to the physician or non-physician practitioner who ordered the Testing.

             1.4    Durall shall manage Hospital's computer software interface(s) to allow
      Hospital personnel to upload appropriate physician or non-physician practitioner
      orders for Testing, as well as applicable patient demographics for the purposes of
      specimen accessioning and billing for the Testing from the third-party clinical
      reference laboratory.

             1.5   Durall shall comply with all Hospital's reasonable and customary
     policies and procedures, to include patient record, patient privacy, and operational
     and financial requirements.

            1.6    Durall expressly agrees that it shall not provide any financial incentive
     to any physician or non-physician practitioner for the physician's or practitioner's
     ordering of Testing, either directly or indirectly, in any manner whatsoever.

            1.7     Durall and all its principals, officers, employees and agents shall
     comply with all applicable California and federal statutes, rules and regulations
     regarding the Testing, to include CUA (Clinical Laboratory Improvement Act),
     HIPAA (Health Insurance Portability and Accountability Act), licensure,
     accreditation, and anti-kickback and anti-self-referral provisions.

             1 .8  Durall warrants and guarantees that neither it nor any of its principals,
     officers, employees, or agents are excluded from any federal health care program.

     2.     RESPONSIBILITIES OF THE HOSPITAL

             2.1    The Hospital shall provide clinical staff for the non-patient specimen
     accessioning, quality assurance, analysis Testing, and shipping of specimens for
     confirmation Testing services to the third-party clinical reference laboratory, by
     means of a Hospital contracted worker(s) or employee(s) on-site at the third-party
     clinical reference laboratory.

             2.2    The Hospital shall ensure that all physicians and mid-level providers
     ordering Testing pursuant to this Agreement obtain and maintain adequate
     authorization, whether as to the Hospital's medical staff bylaws and/or California
     law, to order the Testing for the Hospital's non-patients.

           2.3    The Hospital shall require the ordering physicians to provide the
     Hospital medical necessity documentation for Testing.

              2.4   The Hospital shall be responsible for the coding, billing and collections
     for all Testing, within all applicable guidelines and requirements. The Hospital
     agrees that its coding and billing protocols shall adhere to Durall's compliance
     policies.



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            2.5    The Hospital shall be responsible for compliance with all third-party
      payer protocols and requirements, to include the compliant completion and
      submission of UB-04 (the CMS Form 1450) claims.

             2.6    The Hospital shall make all reasonable and customary efforts to
     collect all applicable Testing payments, including insurance payments from third-
     party payers and all deductibles, co-insurances, or other financial obligations.

           2.7     The Hospital shall pay Durall for its management of the Testing
     pursuant to the attached Schedule A and payment policies as contained within this
     Agreement.

             2.8   The Hospital shall be entitled to retain all collections for the Testing,
     net of the payments set out in Sections 2.7 and 4.1.

            2.9     The Hospital shall submit claims for Testing reimbwrsement to the
     applicable third-party commercial insurance payer.

            2.10 The Hospital is solely responsible for setting its own charges for
     Testing, though Durall shall offer advice and assistance upon Hospital's request.

            2.11 The Hospital expressly agrees that it shall not provide any financial
     incentive to any physician or non-physician practitioner for the physician's or non-
     physician practitioner's ordering of Testing, and alternatively, will not provide for any
     form of financial disincentive as to any physicians or other practitioners who do not
     order Testing.

           2.12 The Hospital shall permit access by Durall to patient and billing
     records relating to the Testing, subject to federal and state confidentiality laws.

             2.13 The Hospital shall provide for the Testing without discrimination on the
     basis of gender, race, color, age, religion, national origin, mental or physical
     disability, or any other grounds prohibited by law.

            2.14 The Hospital and all its principals, officers, employees and agents
     shall comply with all applicable California and federal statutes, rules and regulations
     regarding the Testing, to include CUA (Clinical Laboratory Improvement Act),
     HIPAA (Health Insurance Portability and Accountability Act), licensure,
     accreditation, and anti-kickback and anti-self-referral provisions.

            2.15 The Hospital warrants and guarantees that neither it nor any of its
     principals, officers, employees, or agents are excluded from any federal health care
     program.

            2.16 The Hospital shall be responsible for determining insurance pre-
     authorizations to ensure coverage by the applicable third-party payer plan(s).



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      3.     TERM AND TERIMINATION

            3.1    This Agreement shall be for a term of one (1) year, and shall
     automatically renew for successive one (1) year terms unless or until terminated as
     provided in Section 3.2 or 3.3.

             3.2    In the event either party shall materially fail to comply with any
     provision specified in this Agreement, and such breach is not cured within thirty (30)
     calendar days of the receipt by the party in breach of written notice of such breach,
     then the notifying party shall have the right, in addition to any other rights it may
     have, to terminate this Agreement immediately. Termination for breach does not
     relieve the breaching party of any payment obligations it has under this Agreement.

            3.3     Either party may terminate this Agreement without cause upon ninety
     (90) days' prior written notice.

     4.     COMPENSATION

          4.1     The Hospital agrees to pay and Durall agrees to accept as full
     payment for the services provided under this Agreement the payment set forth in
     Schedule A of this Agreement.

             4.2   Durall shall invoice the Hospital monthly, and the Hospital's payment
     of the invoices is due within thirty (30) days of the Hospital's receipt of such
     invoices. Payments that are fifteen (15) or more days late, shall bear an additional
     interest charge of one percent (1%) per month, or the maximum amount of interest
     permitted under California law, whichever is greater.

     5.     RELATIONSHIP OF THE PARTIES

            5.1    It is understood and agreed that the Hospital and Durall are, and at all
     times shall be, independent contractors of one another. Neither shall have nor
     exercise any control or direction over the professional judgment of any personnel of
     the other, nor over the methods or manner by which such personnel perform
     services as they relate to the handling of patient specimens, accessioning,
     laboratory operations, coding, billing, or collections, except as expressly set forth in
     this Agreement.

            5.2     Hospital and Durall agree that Testing ordered by physicians or non-
     physician practitioners that are not members of the Hospital medical staff will be
     afforded the same quality assurance as any patient specimen Testing ordered by
     Hospital medical staff. Hospital shall not discriminate against any patient or ordering
     physician/non-physician practitioner for any Testing for any patient that is not a
     patient of the Hospital, and Hospital will code and bill such claim with the same
     diligence as the claims for payment for Testing of the Hospital's inpatients and
     outpatients.



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      6.     CONFIDENTIALITY OF PROPRIETARY iNFORMAT!ON

             6.1     Except as required by law, each party, during the term of this
      Agreement and following termination of this Agreement, shall strictly maintain the
      confidentiality of any proprietary information including, but not limited to, trade
      secrets of the other party. All information which the parties have a reasonable basis
     to consider as proprietary information, or which is reasonably treated by any party
      as being proprietary, shall be presumed to be proprietary. Each party shall take
      necessary and reasonable precautions to prevent unauthorized disclosure of
     proprietary information or patient medical information and shall require all of its
     officers, employees and other personnel to whom it is necessary to disclose the
     same, or to whom the same has been disclosed, to keep such proprietary
     information confidential. Upon termination of this Agreement, each party agrees to
     return to the other all proprietary information of the other party in such party's
     possession including, without limitation, any documentation evidencing the
     Hospital's or Durall's policies, procedures, clinical protocols, and all intellectual
     property related to the performance of the Testing. In the event that any policies,
     procedures, protocols, or information systems be developed exclusively for or by
     the Hospital, they shall remain the property of the Hospital after the termination of
     this Agreement.

     7.     BUSINESS ASSOCIATE PROVISIONS

            7.1    In the performance of the Testing under this Agreement, the Hospital
     and Durall may be required to share or disclose to each other and/or Durall may
     come into possession of certain business, financial or clinical information that may
     be protected by federal, state and local laws and regulations regarding the privacy,
     security and/or privilege of medical/health information, including federal privacy and
     security regulations promulgated under HIPAA. The parties shall implement
     appropriate safeguards to prevent the unlawful use or disclosure of patient
     protected heath information, to include the entering of a separate HIPAA Business
     Associate Agreement.

     8.     INDEMNIFICATION AND LIABILITY INSURANCE

             8.1     The Hospital shall indemnify and hold Durall harmless from any third-
     party liability accruing from any act or failure to act of Hospital pursuant to this
     Agreement. Durall shall indemnify and hold the Hospital harmless from any third-
     party liability accruing from any act or failure to act of Durall pursuant to this
     Agreement.

            8.2    The Hospital and Durall shall carry professional liability insurance
     having minimum limits of liability of one million dollars ($1,000,000) per occurrence
     and three million dollars ($3,000,000) in the aggregate, or as the parties may
     otherwise mutually agree.




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      9.     GENERAL PROVISIONS

             9.1    Notices. Notices or communications to be given under this Agreement
      shall be given to the respective parties in writing either by personal delivery,
      overnight delivery service or registered or certified mail, postage prepaid as follows:

      To:    Sonoma West Medical Center         To:    Durall Capital Holdings, LLC
             501 Petaluma Avenue                       5387 N. Nob Hill Road
             Sebastopol, CA 95472                      Sunrise, FL 33351

             9.2     Assignment. In the case of a name change by the Hospital or a
     merger/acquisition including the Hospital, this Agreement may be assigned to the
     newly named/formed entity. The Hospital will provide Durall with the new name or
     the newly formed Hospital name and signatures of authorized representatives of the
     successor Hospital. Assignment under other circumstances may occur only upon
     the prior written approval of all parties. This Agreement shall be binding on and
     inure to the benefit of the parties and their respective heirs, successors, legal
     representatives, and permitted assigns.

            9.3    Waiver. Delay or non-enforcement of any provision of this Agreement
     shall not operate as, or be construed to be, a waiver of any provision of this
     Agreement. None of the provisions of this Agreement shall be considered waived by
     either party except when such waiver is given in writing.

             9.4   Access to Records. Each party shall keep, and allow the other party
     reasonable access to, full and accurate books and records of all services rendered
     hereunder. Further, to the extent required by 42 USC section 1395x(v)(1 )(I), until
     the expiration of four (4) years after the termination of this Agreement, each party
     shall, upon written request, make available to the Secretary of the United States
     Department of Health and Human Services, or to the Comptroller General of the
     United States General Accounting Office, or to any of their duly authorized
     representatives, a copy of this Agreement and such books, documents, and records
     as are necessary to certify the nature and extent of the costs of the services
     provided under this Agreement.

           9.5    Entire Agreement; Amendment. This Agreement constitutes the entire
     agreement between the parties and supersedes all prior or contemporaneous
     discussions or agreements. This Agreement may be modified only in writing duly
     executed by both parties.

            9.6    Severability. If any term or provision of this Agreement is held invalid
     or unenforceable to any extent, the remainder of this Agreement shall not be
     affected thereby and each term and provision of this Agreement shall be valid and
     enforceable to the fullest extent permitted by law.

            9. 7   Cooperation. In the event of any litigation against either party
     pertaining to any matter relating to this Agreement, both parties agree to fully
     cooperate with the other at all times during the pendency of the claim or lawsuit
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     including, without limitation, providing the other with all available information,
     including patient records (to the extent permitted by applicable law).

           9.8    Counterparts. This Agreement may be executed in one or more
     counterparts each of which may be deemed an original, but all of which constitute
     one and the same instrument.

             9.9     Governing Law and Venue. This Agreement shall be governed by and
      construed in accordance with the laws of the State of California, without reference
     to conflicts of laws or choice of laws rules. All legal actions relating to this
     Agreement shall be brought in the state courts in Sonoma County, California, or, if
     brought in federal court, in the United States District Court, Northern District of
     California, in Sonoma County, if possible, or in San Francisco or Oakland. The
     Parties agree, however, that if Durall files suit against Hospital for non-payment
     under this Agreement, Durall may do so in Florida. It is further agreed that in the
     case of legal dispute decided in a court of law that the prevailing party awarded a
     judgment against the other party by the court shall h·ave rights to recover
     reasonable attorney fees.

            9.10 Confidentiality. Each party agrees to keep this Agreement and its
     contents confidential and not to disclose this Agreement or its contents to any third
     party other than its legal and financial advisors and appropriate facility personnel, or
     otherwise as required by law, without the consent of the other party.

             9.11 Agreement Subject to State and Federal Law. The parties recognize
     that this Agreement at all times is subject to applicable federal, state and local law,
     including, but not limited to the Social Security Act and the rules and regulations
     and policies of the State of California. The parties further recognize that this
     Agreement shall be subject to amendments of such laws and regulations, and to
     new legislation such as a new federal or state health insurance program. Any
     provisions of law that invalidate, or otherwise are inconsistent with the terms of this
     Agreement, or tt)at would cause one or both the parties to be in violation of
     applicable laws, shall be deemed to have superseded the terms of this Agreement,.
     provided however that the parties shall exercise their best efforts to accommodate
     the terms and intent of this Agreement to the greatest extent possible consistent
     with the requirements of applicable laws and regulations.

             9.12 Fraud and Abuse Laws. The parties shall strictly comply with
     applicable federal, state, and local law including the anti-kickback and anti-self-
     referral laws. The parties agree that the payments provided for in this Agreement
     are consistent with the fair market value for the services provided, negotiated at
     arms' length, and are entirely unrelated to any volume or value of patients or patient
     business that is subject to reimbursement by a government health insurance plan.
     Hospital understands that Durall may or may not utilize one or more third-party
     marketing companies that promote(s) the services of Durall and/or the Hospital to
     physicians and non-physician practitioners pursuant to this Agreement. Durall will
     ensure that such marketing arrangements are compliant with federal and state anti-
     kickback laws pursuant to Health and Human Services Office of Inspector General
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      Advisory Opinion 98-10, and other relevant legal authority.

              IN WITNESS WHEREOF, the parties hereto have executed this Agreement
      as of the last date of signature below.

      Durall Capital Holdings, LLC             Sonoma West Medical Center


     Signature                                 Signature

     Printed Name: - - - - - -                 Printed Name: - - - - - - - -

     Date:                                     Date:
                                                       -----------




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                                    Schedule A

      Compensation:


                      $150,000 per month




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                            BUSINESS ASSOCIATE AGREEMENT

               THIS BUSINESS ASSOCIATE AGREEMENT (the "BA Agreement") is
       hereby entered between Sonoma West Medical Center (the "Covered Entity")
       and Reliance Laboratory Testing, Inc., (the "Business Associate") in order for the
       Covered Entity to disclose Protected Health Information to the Business
       Associate in connection with services or products provided to or for Covered
       Entity, or as otherwise required by the Health Insurance Portability and
       Accountability Act of 1996, as amended, ("HIPAA"). The Covered Entity and
       Business Associate agree to the following terms ·and conditions, which are
       intended to comply with HIPAA; the Health Information Technology for Economic
       and Clinical Health Act of 2009 (the "HITECH Act"); and, rules promulgated
       pursuant to such laws:

       1. General Terms and Conditions

       (a) "Privacy Rule" shall mean the Standards for Privacy of Individually Identifiable
       Health Information at 45 C.F.R. part 160 and subparts A and E of part 164.

       (b) "Security Rule" shall mean the Standards for Security of Individually
       Identifiable Health Information at 45 C.F.R. part 160 and subparts A and C of part
       164.

       (c) Capitalized terms used but not otherwise defined in this BA Agreement shall
       have the same meaning as those terms in the Privacy Rule and Security Rule,
       including 45 CFR §§160.103 and 164.501.

       2. Obligations and Activities of Business Associate

       (a) Business Associate agrees to not use or disclose Covered Entity's Protected
       Health Information other than as permitted or required by this BA Agreement or
       applicable law.

       (b) Business Associate agrees to use appropriate safeguards to prevent use or
       disclosure of the Covered Entity's Protected Health Information other than as
       provided for by this BA Agreement.

      (c) Business Associate agrees to report to Covered Entity's Privacy Official,
      within five (5) business days, any use or disclosure of Covered Entity's Protected
      Health Information not provided for by this BA Agreement, including the
      identification of each Individual whose unsecured Protected Health Information
      has been, or is reasonably believed by the Business Associate to have been,
      accessed, acquired, or disclosed in a noncompliant manner (a "breach").

      (d) Business Associate agrees to ensure that any agent or subcontractor to
      whom it provides Covered Entity's Protected Health Information received from, or
      created or received by Business Associate on behalf of Covered Entity, agrees to

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       the same restrictions and conditions that apply through this BA Agreement to
       Business Associate with respect to such information.

       (e) To the extent Business Associate has Covered Entity's Protected Health
       Information in a Designated Record Set, Business Associate agrees to provide
       access, at the request of Covered Entity, to Protected Health Information in a
       Designated Record Set, for Covered Entity in order to meet the requirements of
       45 C.F.R. § 164.524, including provision of records in electronic form to the
       extent required by the H!TECH Act.

       (f) Business Associate agrees to make any amendment( s) to Protected Health
       Information in its possession contained in a Designated Record Set that Covered
       Entity directs or agrees to pursuant to 45 C.F.R. § 164.526 at the request of
       Covered Entity.

       (g) Business Associate agrees to make its internal practices, books, and records
       relating to the use and disclosure of Protected Health Information received from,
       or created or received by Business Associate on behalf of Covered Entity,
       available to the Secretary of Health and Human Services, in a time and manner
       designated by the Secretary, for purposes of the Secretary determining Covered
       Entity's compliance with the Privacy Rule.

       (h) Business Associate agrees to document all disclosures of Covered Entity's
       Protected Health Information in its possession and information related to such
       disclosures as would be required for Covered Entity to respond to a request by
       an Individual for an accounting of disclosures of Protected Health Information in
       accordance with 45 C.F.R. § 164.528, and the HITECH Act.

       (i) Business Associate agrees to provide to Covered Entity information collected
       in accordance with Section 2(h) of this BA Agreement, to permit Covered Entity
       to respond to a request by an Individual for an accounting of disclosures of
       Protected Health Information in accordance with 45 C.F.R. § 164.528, and the
       HITECH Act.

       U) Business Associate agrees to, subject to subsection 4(c) below, return to the
       Covered Entity or destroy, within fifteen (15) days of the termination of this
       Agreement, the Covered Entity's Protected Health Information in its possession
       and retain no copies.

       (k) Business Associate agrees to mitigate, to the extent practicable, any harmful
       effect that is known to either party, of a use or disclosure of Covered Entity's
       Protected Health Information in violation of this BA Agreement or applicable law.

       (I) Business Associate agrees to indemnify, insure, defend and hold harmless
       Covered Entity and Covered Entity's employees, directors, officers,
       subcontractors, agents, or members of its workforce, each of the foregoing
       hereinafter referred to as an "indemnified party," against all actual and direct

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       losses suffered by the indemnified party and all liability to Individuals arising from
       or in connection with any breach of this BA Agreement or of any warranty
       hereunder or from any negligence, wrongful acts, or omissions, including the
       failure to perform its obligations under HIPM, as well as the additional
       obligations under the HITECH Act, by Business Associate or its employees,
       directors, officers, subcontractors, agents, or members of its workforce. This
       includes, but is not limited to, expenses associated with notification to Individuals
       and/or the media in the event of a breach of Protected Health Information held by
       Business Associate. Accordingly, on demand, Business Associate shall
       reimburse any indemnified party for any and all actual and direct losses,
       liabilities, lost profits, fines, penalties, costs or expenses (including reasonable
       attorneys' fees) which may for any reason be imposed upon any indemnified
       party by reason of any suit, claim, action, proceeding or demand by any
       Individual which results from the indemnifying party's breach hereunder. The
       provisions of this paragraph shall survive the expiration or termination of this BA
       Agreement for any reason.

       (m) In addition to its overall obligations with respect to Protected Health
       Information, to the extent required by the Security Rule, Business Associate will:

             (i) Implement administrative, physical, and technical safeguards that
             reasonably and appropriately protect the confidentiality, integrity, and
             availability of the Covered Entity's electronic Protected Health Information
             ("EPHI") that it creates, receives, maintains, or transmits on behalf of
             Covered Entity as required by HIPM;

             (ii) Ensure that any agent or subcontractor to whom it provides such EPHI
             agrees to implement reasonable and appropriate safeguards to protect the
             EPHI; and

             (iii) Report to Covered Entity any Security Incident upon discovery.

      (n) Except as otherwise allowed in this BA Agreement, HIPM; and the HITECH
      Act, Business Associate shall not directly or indirectly receive remuneration in
      exchange for any Protected Health Information of an Individual unless the
      Individual has provided a valid, HIPAA-compliant authorization.

      (o) Business Associate shall use and disclose only the minimum necessary
      Protected Health Information to accomplish the intended purpose of such use,
      disclosure or request, as applicable. Prior to any use or disclosure, Business
      Associate shall determine whether a Limited Data Set would be sufficient for
      these purposes.

      (p) Covered Entity, in its sole and absolute discretion, may elect to delegate to
      Business Associate the requirement under HIPM, and the HITECH Act, to notify
      affected Individuals of a breach of unsecured Protected Health Information if
      such breach results from, or is related to, an act or omission of Business

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        Associate or the agents or representatives of Business Associate. If Covered
        Entity elects to make such delegation, Business Associate shall perform such
        notifications and any other reasonable remediation services (i) at Business
        Associate's sole cost and expense, and (ii) in compliance with all applicable laws
        including HIPAA, and the HITECH Act. Business Associate shall also provide
        Covered Entity with the opportunity, in advance, to review and approve of the
        form and content of any breach notification that Business Associate provides to
        Individuals.

        (q) Pursuant to the Security Rule, Business Associate agrees to comply with the
        following:

             (i) Sections 164.308 (administrative safeguards), 164 ..310 (physical
             safeguards), 164.312 (technical safeguards) and 164.316 (policies and
             procedures and documentation requirements) of the Security Rule shall
             apply to Business Associate in the same manner that such sections apply
             to Covered Entity. The additional requirements of the HITECH Act that
             relate to security and that are made applicable with respect to covered
             entities shall also be applicable to Business Associate and shall be and by
             this reference hereby are incorporated into this BA Agreement.

            (ii) Unless Covered Entity agrees, in writing, that this requirement is
            infeasible with respect to particular data, Business Associate shall secure
            all Protected Health Information by a technology standard that renders
            Protected Health Information unusable, unreadable, or indecipherable to
            unauthorized individuals and is developed or endorsed by a standards
            developing organization that is accredited by the American National
            Standards Institute and is consistent with guidance issued by the Secretary
            of Health and Human Services specifying the technologies and
            methodologies that render Protected Health Information unusable,
            unreadable, or indecipherable to unauthorized persons, including the use of
            standards developed under§ 3002(b)(2)(B)(vi) of.the Public Health Service
            Act, as added by the HITECH Act.                                   .

            (iii)    Business Associate may use and disclose Protected Health
            Information that Business Associate obtains or creates only if such use or
            disclosure, respectively, is in compliance with each applicable requirement
            of§ 164.504(e) of the Privacy Rule, relating to business associate
            contracts. The additional requirements of Subtitle D of the HITECH Act that
            relate to privacy and that are made applicable with respect to Covered
            Entity shall also be applicable to Business Associate and shall be and by
            this reference hereby are incorporated into this BA Agreement.

            (iv)     In accordance with § 164.504(e)(1 )(ii) of the Privacy Rule, each
            party agrees that, if it knows of a pattern of activity or practice of the other
            party that constitutes a material breach or violation of the other party's
            obligation under the BA Agreement, the non-breaching party will take
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             reasonable steps to cure the breach or end the violation, as applicable, and,
             if such steps are unsuccessful, terminate the contract or arrangement, if
             feasible, or if termination is not feasible, report the problem to the Secretary
             of Health and Human Services.

        (r) To the extent that Business Associate is to carry out Covered Entity's
        obligations under the Privacy Rule or the Security Rule, Business Associate will
        comply with any Privacy or Security Rule requirements that apply to Covered
        Entity in its performance of the obligation.

        3. Permitted Uses and Disclosures of Protected Health Information by
        Business Associate

        (a) General Use and Disclosure Provisions. Except as otherwise limited in this
        BA Agreement, Business Associate may use or disclose Protected Health
        Information obtained from ··or on behalf of Covered Entity to perform functions,
        activities, or services for, or on behalf of, Covered Entity as specified in this BA
        Agreement, provided that such use or disclosure complies with HIPAA. Business
        Associate acknowledges and agrees that it acquires no title or rights to the
        Protected Health Information, including any de-identified information, as a result
        of this BA Agreement.

        (b) Specific Use and Disclosure Provisions.

              (i) Business Associate may use or disclose Protected Health Information
              to perform functions, activities, or services for, or on behalf of, Covered
              Entity and fulfill its obligations under any underlying agreement with
              Covered Entity, provided that such use or disclosure would not violate the
              Privacy Rule or Security Rule if done by the Covered Entity.·

              (ii) Business Associate may use and disclose Protected Health Information
              for the proper and necessary management and administration of Business
              Associate or to carry out the legal responsibilities of Business Associate,
              provided that, as to any such disclosure:

                     (A) the disclosure is Required By Law; or

                     (B) Business Associate obtains reasonable assurances from the
                     person to whom the information is disclosed that it will remain
                     confidential and used or further disclosed only as Required By Law
                     or for the purpose for which it was disclosed to the person, and the
                     person notifies Business Associate of any confidentiality breaches.

              (iii) Except as otherwise limited in this BA Agreement, Business Associate
              may use Protected Health Information to provide Data Aggregation
              services to Covered Entity, relating to the health care operations of
              Covered Entity.

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        4. Survival and Termination

        (a) Survival. Business Associate·s obligations under this BA Agreement shall
        survive the termination of this BA Agreement and shall end when all of the
        Protected Health Information provided by Covered Entity to Business Associate,
        or created or received by Business Associate on behalf of Covered Entity, is
        destroyed or returned to Covered Entity. If it is infeasible to return or destroy
        Protected Health Information, protections are extended to such information, in
        accordance with the termination provisions in this Section.

        (b) Termination for Cause. Upon Covered Entit/s knowledge of a material
        breach by Business Associate, Covered Entity shall provide written notice to
        Business Associate and may terminate this BA Agreement and any underlying
        agreement with Business Associate if Business Associate does not cure the
        breach or end the violation within 30 days of such notice.

        (c) Effect of Termination

               (i) Except as provided below in paragraph 4(c)(ii) of this BA Agreement,
               upon termination of this Agreement, for any reason, Business Associate
               shall return or destroy all Protected Health Information received from
               Covered Entity, or created or received by Business Associate on behalf of
               Covered Entity. This provision shall apply to Protected Health Information
               that is in the possession of subcontractors or agents of Business
               Associate. Business Associate shall retain no copies of the Protected
               Health Information.

               (ii) In the event-that Business Associate determines that returning or
               destroying the Protected Health Information is infeasible, Business
              Associate shall provide to Covered Entity written notification of the
              conditions that make return or destruction infeasible, and, if Covered
               Entity determines that return or destruction is infeasible, Business
              Associate shall extend the protections of this BA Agreement to such
               Protected Health Information and limit further uses and disclosures of
              such Protected Health Information to those purposes that make the return
              or destruction infeasible, for so long as Business Associate maintains
              such Protected Health Information. If it is infeasible for Business Associate
              to obtain, from a subcontractor or agent, any Protected Health Information
              in the possession of the subcontractor or agent, Business Associate must
              provide a written explanation to Covered Entity and require the
              subcontractors and agents to agree in writing to extend any and all
              protections, limitations and restrictions contained in this BA Agreement to
              the subcontractors' and/or agents' use and/or disclosure of any Protected
              Health Information retained after the termination of this BA Agreement,
              and to limit any further uses and/or disclosures to the purposes that make
              the return or destruction of the Protected Health Information infeasible.


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        5. Interpretation and Amendment of this BA Agreement

        To the degree the terms of this BA Agreement conflict with the terms of any
        underlying contract, the terms of this BA Agreement shall control. A reference in
        this BA Agreement to a section of the Privacy Rule means the section as in effect
        or as amended. Any ambiguity or inconsistency in this BA Agreement shall be
        resolved in favor of a meaning that permits Covered Entity to comply with the
        Privacy Rule, the Security Rule, and the HITECH Act. The parties hereto agree
        to negotiate in good faith to amend this BA Agreement from time to time as is
        necessary for Covered Entity to comply with the requirements of the Privacy
        Rule, and HIPAA, and for Business Associate to provide services to Covered
        Entity. However, no change, amendment, or modification of this BA Agreement
        shall be valid unless it is set forth in writing and agreed to by both parties.

        6. No Third Party Rights/Independent Contractors

        The parties to this BA Agreement do not intend to create any rights in any third
        parties other than the parties. No patient whose confidential medical records may
        have been subject to an unintended disclosure of breach by any party shall have
        any rights or remedies under this BA Agreement. The parties agree that they are
        independent contractors and not agents of each other.

        7. Notices

        Any notice required or permitted by this BA Agreement to be given or delivered
        shall be in writing and shall be deemed given or delivered if delivered in person,
        or sent by courier or expedited delivery service, or sent by registered or certified
        mail, postage prepaid, return receipt requested, or sent by facsimile (if
        confirmed). Each party may change its address for purposes of this BA
        Agreement by written notice to the other party.

               WHEREFORE, the parties have executed this BA Agreement, effective as
       of the last signature date below.

       Covered Entity: Sonoma West Medical Center

       Signature: _ _ _ _ _ _ _ _ _ _ _ __                       Date: - - - - - - - -
       Printed Name:
       TitIe:
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       Business Associate: Reliance Laboratory Testing, Inc.


       Signature: _ _ _ _ _ _ _ _ _ _ _ _ __                     Date: - - - - - - - -
       Printed Name:
       TitIe:
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